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                        U NITED STATES DISTRICT CO U RT
                        SO UTHERN DISTRICT O F FLO RIDA
                  CASE N UM BER NO :05-20874-CR-A LTO NAGA


  UN ITED STATES O F AM ERICA                             FILED BY
                                                                                      D.C.
                    Respondent.
                                                              0E2 12 2222
  V.
                                                              ctrnë%llï?jL%
                                                              s.o. o: FuA .-
                                                                               MiMl
  Guy PHILIPPE

                Petitioner




  1. EM ERGENCY M OTION ASKING FOR COM PASSIONATERELEASE(REDUCTION IN
     SENTENCE-RIS)PURSUANTTO 18 U.S.C.:3582 (C)(1)(A)AND DENIALOFTHE
       W ARDEN AT M C RAE CO RRECTIO NAL FACILITY; THE PETITIO NER W ITH
       CHRONIC ILLNESS (HIGH BLOOD PRESSURE. HIGH CHOLESTEROL, AND
       ASTHM A AS A CHILD GROW ING UP)AND A RISK TO CONTRACTED THE COVID-
       19 FO R HIS VULNERA BILITY IN THE W O RSE PA NDEM IC O FTHE LAST 100 YEARS
       W ITH NO CURE ON SIGHT.

  2. GRA NTING G UY PHILIPPE CO M PASSIO NATE RELEASE AN D REDUCING HIS
       SENTENCETO TIM ESERVED PURSUANT TO 18 U.S.C.: 3582 (C)(1)(A).


 3. APPOINT COURT APPOINTM ENT / PUBLIC DEFENDER COUNSELOR BY THIS
       HO NO RABLE DISTRICT COURT.


 4. G RANTING SUCH OTHER AN D FURTHER RELIEF AS THE CO URT M AY DEEM
    JUST AN D PRO PER.




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                                STATEM ENTS O F THE CASE

     Now comeGuyPhilippe(hereafter)PhilippeasapetitionerPro-SEaskingthe
     honorable DistrictCourtforcom passionate release pursuantto 18 U.S.C.j
     3582 (c)(1)(a).Philippe iscurrentlyserving108monthsand 3years'probation
     foroffense United Statescode,section 1956(H)conspiracyto Iaudermonetary
     instrum ent in violation oftitle 18 U.S.C.Philippe hasalready served 50.5
     percentofhissentence.Philippe is52 years ofage,has three adults children
     ages 18 through 23 years ofage and a prom inentfigure forunderprivilege kids
     asw ellas adults ofhis com m unity in Haiti.And since his incarceration has
     continued to m entorothers.

             Philippe has num erous m edicalissuessuch high blood pressure,high
     cholesterol,and asthmagrDwingupaskids(See attachmentA)These
    conditions putPhilippe athigherrisk ofcontracting COVID-19 w ith added risk
    ofexposure because socialdistance is extrem ely im possible to attain due to
    the circum stancesofincarceration.The above facts representextraordinary
    and com pelling reasonsw hich could notreasonably have been foreseen by the
    courtattim e ofsentencing.

              As the Court know sthe Coronavirus Pandem ic has m ade significant
    changes on everyone's Life.Thousands ofpeople have died in the United
    StatesofAm erica and m illions are infected here and around the w orld.The
    situation isw orse in the State ofGeorgia.ln the Facility w hich Philippe is
    incarcerated m any people are and w ere infected by thisvirus and this resulted
    deaths.Philippe's housing Unitw as placed and stillunderquarantine due to
    individualfalling iIIand had to hospitalize forw eeks.The Facility has been on
    lock dow n situation since the m onth ofM arch 2020.Philippe has Iim ited
    accessto recreation,Law Iibrary and even religious services.

                Philippe is underextrem e stressand doesn'tw antto die from this
    virus.This situation has caused trem endous stress w hich has caused Philippe
    health to deteriorate.Philippe'sfam ily is also extrem ely w orried;on one hand
    his fam ily isstruggling w ith the fearofcontracting the virus and otherhand
    Philippe'sfam ily are underextrem e stress due to hiscurrent situation




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                 Philippe hasdiligently prayed forstrength, patience and guidance.As
     a convicted individual,the petitionerdoes notknow w hat lies ahead, buthe
     hascom plete faith thatThe Alm ighty w illcontinue to rem ain w ith him . It is
     w ith this faith that Philippe prays return to hisfam ily alive so thathe can give
     them support in these trouble tim es.

              Congress created a com passionate reiease form as a vehicle for
     reducing the sentences ofinm atesw ith debilitating m edicalconditions w ho
     has served a significantam ountoftheirtim e w here incarceration w ould be
     inequitable and unjust,butthe COVID-19 pandem ic changed everything in our
     everyday lives.

                                    LeaalAnalvsis


                ln reference to exhausting adm inistrative rem edies, the courtcan
     excuse com pliance w ith the norm alexhaustion rule in Iightofthe docum ented
     and serious nationalem ergency.See Hendricks V.Zenon 933 F 2D 664, 672 (9tb
     Cir.1993)(recognizingthatexceptionalcircumstance ofpeculiarurgencycan
    excuse exhaustion,delaying consideration ofthis m otion w ould put Philippe's
    Iife indangerand riskirreparableharm).U.S.V.Colvin N93:19CR 179(JBA)
    2020.U.S.DistrictLexis57962*4-5 (D.ConnApril2-2020).

                 First:''Exhaustion m ay be unnecessary w here itw ould be futile ''
                                                                                  .




                 Second:''Exhaustion m ay be unnecessary w here the
    adm inistrative process w ould be
                 Incapable ofgranting adequate relief''.

               Including situationsw here ''The reliefthe agency m ightprovide
    could,because ofundue
               Delay,becam e inadequate'?Id at 119-20
              Third:''Exhaustion m ay be unnecessary w here pursuing agency
    review would subjectPlaintiffsto undue prejudice''Id at119
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                 The com passionate release statue does notexpressly define or
     Iim itw hatconstitutesan ''Extraordinary and com pelling Reasons ''fora
     sentence reduction.
     But as such,the presentglobalpandem ic is a quintessentialextraordinary
     circum stance beyond w hatm ostpeople have experienced in theirIife tim e   .




                Here,Philippe has satisfied the statue'sgate-keeping provision
     because thirty days have passed since petitionerfiled a petition for
     compassionate releasewith hiswarden.(Seeattach B)Thus,Philippehas
     satisfied the statue's gate-keeping provision and the court m ay addressthe
     m erits.



                THE Actallow s federalCourtsto directly reduce sentences under
     the (so-calledcompassionaterelease)statutoryprovisionsof18 U.S.C.j3582
     (c)(1)(a)withoutawaitingamotion bytheBureauofPrisons.HereisaIistof
     recently grated casesfrom the Iastfew w eeks:
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        * United States v.O'Brayan N0 96-10076-03-JTM , 2020 W L869475 (

            Feb21,2020)
        @


            3,2020).
        @ U nited Statesv.Brannan,
        @ United States      Colvin       19-CR-179) (JBA) (2020 W L 1613943)
            (D.CONN April22020)
        *


        @ United States v.                                      1047815)
            TENN Mar4,2020)
       @


       . UnitedStatesv.W inckler(NO13-318)(W .D.P.A.April3,2020)
       *


       * UnitedStatesv.Coker(N03:14-CR-085)E.D.TENN April15,2020
       @


       * United Statesv.Decator(N0cc8-95-0202)D.M .D.April6,2020
       * UnitedStatesv.Kataev(N016-CR-763-05)(LGS)S.D.N.Y.Aprii14,2020
       @


       * UnitedStatesv.Lucas,(N015-cR-143)(W ONYApril29,2020)
       @


       * UnitedStatesv.Saad (NO16-20197)E.D.(E.D M tCH April29,2020)
       * UnitedStatesv.Haper(N07:18-CR-0OO25)(D.CONN.April28,2020)
       @ United Statesv.M el(NOTDC-18-0571)(D.M .D.April28,2020)
       * UnitedStatesv.Robinson(NO18-CR-00597-RS-1)(CAL.April27.2020)
       @




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        . Unitedstatesv.coles(N0Oo-cR-2O051)(cD.April24,2020)
        @


        * UnitedStatesv,W illiams(N03:17-CR-121)(D Conn.April24,2020)
        *

       @


       . United Statesv.jackson(N04:14-CR-00576)(SDTex.April23,2020)
       @


       @ UnitedStatesv.Bess(N016-CR-156)(W D NY.April22,2020)
       @ UnitedStatesv.Sanchez(N018-cR-O014O)(D Conn.April22,2020)
       @


       . UnitedStatesv.M c.Carthy(N03:92-CR-0O700)(D ConnApril08,2020)
       @


       * UnitedStatesv.Al-lamail(NO1.2-20272)(ED M ich.May12,2020)
       * UnitedStatesv.Barber(N06:18-cR-O0446-AA)(D Ore.May 12,2020)
       @ UnitedStatesv.Ramirez(N017-1O328-W GY)(D Mass.M ay12,2020)
       @

       @


       * UnitedStatesv.Valencia(NO15-163(AT))(SD NY May 11,2020)
       @


       @ UnitedStatesv.Reddy(N013-CR-20358)(ED M ich.M ay11,2020)
       * UnitedStatesv.Foreman (N03:-CR-62(VAB))(D Conn.May 11,2020)
       * UnitedStatesv.Connell(NO18-CR-OO281-RS-1)(ND Cal.MayO8,2020)
       * United Statesv.Joseph (N018-CR-O0350)(ND Cal.M ay08,2020)
       *
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        New COVlD-19 lnfluenced FederalSentenceReduction usingj3582(c)(1)(a)
  Even fordefendants w ho w ere sentenced to life im prisonm ent
                                                               .




           * United States v,M ore, No.3:16-CR-00171-Jo,W L 2572529 (d.Ore.

               M ay 21,2020)
           *


               M ich.M ay21,2020)
           * United States v.Parker, No.2:98-CR-00749, 2020 W L2572525 (C.D,

               Cal.May21,2020)
           @


               (C.D.111.May20,2020)
           @ UnitedStatesv.Hill,No.3:19-CR-0O038 (JAM ),2020 W L2542725 (D.
               Conn.May19,2020)
           * United States     Bright, No. 2:15-CR-00015-005, 2020 W L 2537508

               (W .D.Va.M ay19,2020)
           *


               May18,2020)
           * United States v.Cotinola,       13-CR-03890-M V, 2020 W L 2561423
               (D.N,H.M ay18,2020)
           @ United States v.Routrre,
               (N.D.N.Y.May 18,2020)
           @ United States     Johnson, No.15-CR-125 (KBJ), 2020 W L 2515856
               (D.D.C.May16,2020)
          * United States v. Bess,         16-CR-156, 2020 W L 1940809, at

               (W .D.N.Y,April.22,2020




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                         EXTRAORDINARY AND COM PELLING REASO NS

        Com passionate release provides a path for defendants w ith ''Extraordinary
  and Compelling reasons''to Ieaveprisonearlyj3582(c)(1)(a)(i).Suchasentence
  reduction mustcomplywiththe 18 U.S.C.j 3553 (a)factorsand ''applicable policy
  statementsissued bythesentencingcommission/'.j3582 (c)(1)(a).

                                           DEFINITIONS

        Congress neverdefined w hat constitutes ''Extraordinary and Com pelling''28
  U.S.C.j 994 (c).Instead,the statute directed the com mission to prom ulgate ''the
  criteria to be applied and a Iistofspecific''extraordinary and com pelling exam ples.
  Id beforetheFirstStepAct,thecom m issionprovidedjustthree such exam ples,none
  ofw hich apply here.

             com m ission also provided a catch-all provision that allow s the BOP
  Director to determ ine 'there exists in the defendant's case an extraordinary and
  com pelling reason other than, or in com bination w ith,the reasons described

  subdivisions(a)through (c).''j 1b1.13 CMT.N.1(d).Thatstillbegsthe question:
  w hat isextraordinary and com pelling?

        Congress and the com m ission gave tw o guideposts. Extraordinary and
  com pelling reasons ''need not have been unforeseen at the tim e of sentencing''
  1b1.13 CM T.N.2.courtsotherw ise are leftto them selves because the com m ission,
  forw hateverreason.Neverupdated its policy statem ent,asstatutorily required, for
             Step        Rather, the outdated policy statem ent              assum es
Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 9 of 104



  com passionate release ''m ay be granted only upon m otion by the Directorof the
  Bureau ofprisons''j lbl,13 CMT.N.4.thisIeftdistrictcourtin a conundrum        .




          0n theone hand,Congressunequivocallysaid itwishesto ''(ijncreas(sqthe
  gu)se ...ofgc1om passionate gr1elease'?by allowingdistrictcourtsto grantpetitions
  ''consistentw ith applicable policy statem ents''from the com m ission 93582 (c)(1)
                                                                        ,




  (a)(em phasisadded).Ontheotherhand,thecommission-unabletotakeanyofficias
  action-has not m ade the policy statem entforthe old regim e applicable to the new
  O ne.


          M any courts,including this one,have concluded this m eansthe com m issions
  lacks an applicable policy statem ent regarding w hen             court can grant
  com passionate release.

          /'2020.W L2091802,at*6 (S.D.lowaApril29-2020).


      2020) (citing thirteen such cases) in the absence of an applicable policy
  statem ent, these courts conclude ''the court             determ ine w hether any
  extraordinary and com pelling reasons otherthan those delineated in U S.S.G.j lbl.
                                                                            .




  13CMT.n.1(a)(c)warrantgrantingrelief.''Cantu,423F.Supp.3.D at352,
                                                                  .Seealso


  result is thatthe district courtcan consideranything - orat Ieast anything the BO P
 could have considered - w hen assessing a defendant's m otion.

          The num berof courts adopting this position has grow n m ore stillas society
 grapples w ith the profound enologicalconsequences of COVID-19 E.g., Rodriguez,
          F.Supp.3d at          2020 W L 1627331,at * 12 Indeed, this reading now




                                    9
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        12020.It also is safe to say congress is aw are ofcourts use ofthe Iaw during
  the pandem ic.See cong.Research serv., R46297, FederalPrisoners and COVID-19

  Background and Authoritiestograntrelease9(2020).

        The court acknow ledges the policy argum entsto the contrary Yes releasing
                                                                       .



  defendants from incarceration is a delicate business-but not any           so than
  incarcerating them initially.The court's reading also does not- and indeed has not
  allowed judges to release any prisoner.The court also knows it m ust still
  harm ony w ith any sentencing policy guidelines that rem ain applicable ané the j
  3553 (a)factors.j 3582 (c)(1)(a),Forinstance,the need to appropriately punish
  severe conduct        not introduce sentencing disparities betw een defendants
  convicted ofsim ilarcrim es provide aéditionalIim its on a judge'sability to release
  peoplefrom custody.Seej3553 (a)(2)-(6).

                 PETITIO NER'S EXTRAO RDINARY AND CO M PELLING REASONS

        Courts have found that the unprecedented risk of COVID-19; sentencing
  disparitiesfrom changesin law ;and rehabiiitation each constitute extraordinary ancl
  com pelling reasonsto grantcom passionate release.

        ''Despite theirdisagreem ents about the precise definition of ''extraordinary
  and compelling reasons''justifying compassionate release,many courts overthe
  pasttw o m onths have agreed that such reasons existin cases involving defendants
  w hose serious underlying health conditions place them at an elevated risk of
  infection and death from COVlD-19 w hile in custody/'.




                                    :0
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          U.S.v.Cotinola,NO 13-CR-03890-M V,2020 W L2526717,at* 3(D.N.M .M ay

  18,2020).Indeed,the numberofcourtsthathave granted compassionate release
  because ofC0VID-19 grow s by the day.




                                                  1849748 at* 4 (S.D.N.Y.April,18,
  202O.




          THE PETITIONER'S RELEASE W ILL NOT ENDANG ER THE COM M UNIW , AND A

    REDUCTION TO TIM ESERVED COM PORTSW ITH THESECTION j 3553 (A)FACTOR

            determ ining w hether the petitioner's sentence should be reduced, the
  Court m ust first m ake a threshold determ ination that he ''is not a dangerto the


  U.S.S.G.j 1B1.13        lf he is not,the Court m ust look to the factor in 18 U S.C.
                                                                                 .




  93553(a)todeterminewhetherasentence reduction iswarranted.

          The petitioner's release w illnot presenta dangerto anyone and asconfirm ed
  by his prison records, he has not engaged in a single act of violence in the past 7
  years.Ex.C,2.The BO P'sdecision to place Gonzalo Ponce Hurtado ata low -security
  facility also suggeststhatthey do notconsiderhim to be a danger See Unftcd States
                                                                   .




  the defendant's placem ent        tow -security facility as evidence that he did not
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        Asthough itistrue the sentencing com m ission'sguidelines, counseîed in favor
  of a Iongersentence,they are                                             because the
  com m ission neverreleased guijelinesw ith respectto com passionate underthe First
  Step Act.See Supra note                                                    ''factor is
  neutral.

        Considering these factors         com bination w ith     extraordinary
  com pelling reasons discussed above, the court grants petitioner's m otion for
  com passionate release.




                                      REHABILITATION

        ''Rehabilitation of the petitioner alone shallnot be considered'?sufficiently
  extraordinaryand compellingtojustifycompassionate release.j994 (t)(emphasis
  added).For the word ''alone''to do any work-as it must-that means courts can
  considerrehabilitation as partofa com passionate release m otion.Cf.Corley V U.S.
                                                                                 .




  should be construed so thateffect'sgiven to aIIits provisions''(quoting HibbsV.
  W inn,542                                                                    courts,
  including this one, have concluded the sam e and considered              defendant's
  rehabititation   granting com passionate release. Brow n,           F sup. 3d at
                                                                       .




         /20020 W L 2091802,at *7,
                                 .U.S.W ade,N02:99-CR-OO257-CAS-3, 2020 W L

  1864906,at*5(C.D.CAL.April13,2020).




                                     jr
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                                         RELEASE PLAN
           IfPhilippe is release,he w illbe sentto his hom e country ofHaiti Notonly
                                                                                .


  had to help the m ost needed individualin his hom e com m unity, asw ellbeing a
  m entoras he alw ays been to those w ho needed it m ost.And he w illgo hom e to
  continue to teach his high schoolstudents.

                                      CO NCLUSION
           Therefore this honorable districtcourtshould grant Philippe's
  com passionate release,Reduce his sentence to tim e serve.In m aking this request,
  Philippe praysthatforaIIherein stated,that in these hard tim esof pandem ic
  COVlD-19,the vulnerability that Philippe represent,the conditions ofincarceration
  w here it is im possible to m aintain socialdistance, w here only a few inm ates w ear
  m asks,and infected inm atesw ho are asym ptom atic are spraying the virus aII
  around the prison.Philippe believes thatthose are ''extraordinary and com pelling
  circum stances''w arrants this Honorable Courtearnestconsideration pursuantto
  18 U.S.C.jj3582 (c)(1)(a)to reducePhilippe'ssentencetoavoid afataloutcome.
  That Philippe praysthatthis requestshould granted.Philippe atthe proposed
  release w ould not pose any dangerto the safety ofhis com m unity      .




                                                RespectfullySubm itted
                                               TrO-SI'




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                         CTK TITICA TT O T STA A/JCT
      1,Guy Philippe,hereby certify that 1have serveé a copy ofthe foregoing,
  ''M otion forCom passionate Release to the Southern District Courtz'' w hich is
  deem ed filed atthe tim e itw as éelivered to the prison authorities forforw arding
  totheCourt.Mc.RaeCorrectionalFacility,487 U.S.266,288-71(1988),byplacing
  itin a sealed prepaid envelope addressed to the:
                               Clerkofthe Court
                               400 North M iam iAvenue,Room 8
                               M iam iFlorida 33128
                               United States
     And Deposited in the United States PostalM ailatthe United States M c Rae.


  CorrectionalFacility,on This T( J,
                                  .)      Dayof # c;ezz7ét?.r' 2020,Ideclare
  underpenaltyofperjurythatthe foregoing istrue and correctpursuanttotitle 28
  U.S.C.1746.




                                                              Respectfully S bm 'tted,         *'
                                                                ...     P          .     v''
                                                                f      .. '



                                                                . y l'
                                                                     ),a/.
                                                                         y gs
  Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 15 of 104

                                                                 Inm ate C ondensed Chart Report
       Nam e: PHILIPPE,G UY                                DO B:   02/29/1968
        MRN: 5755670                                       sex:    M
     Agency#: 09783-104 -BO P

n PROBLEMS
PatientProblems                              Cateqorv   Status           ICD9 Code   ICDIO Code
Encounterforpreventive health exam ination              Active           V70.0       Z00,00
Headache                                                Active           784.0       R51.9
History ofhypedension                                   Active           V 12.59     Z86.79
Hyperlipidem ia                                         Active           272.4       E78.5
Latenttuberculosis infection                            Active           795.51      222.7




                                                                                     PHILIPPE,GUY
   11/3/202011(O0:01AM                                                                    Page:1
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                                                      Inm ate Condensed Chad Repod
      Nam e: PH ILIPPE,GUY                        DOB:   02/29/1968
       M RN: 5755670                              sex:   M
    Agency#: 09783-104 -BOP


Eh AuusRosss
Allernies                       Reactions                             Status
No Known DrugAII
               ergies                                                 Active




                                                                        PHILIPPE,GUY
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                                                                                Inm ate Condensed Chart Report
         Name: PHILIPPE,GUY                                                 DOB:   02/29/1968
          M RN: 5755670                                                     sex:   M
       Agency#: 09783-104 -BO P


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M ed1cations                                OrderDate      Provider                     StoD Date    Status
AtorvastatinCalcium 20 MG OralTablet        09/25/2020     Branch,W alterM.D.           04/03/2021   Active
  TAKE 1TABLET BEDTIM E
rlydrocrqt.ttlRothlazbde 25 MG OratTablet                  Branch.W alterM D            04/03/2021   Active
   TAKE 1TABLPT DAILY
 lbuprofen 200 MG OralTablet                08,/18,/2020   Jackson,MelvinMD             08/21/2020   Complete
  TAKE 2TABLET EVERY 6HOURS PRN




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    11/3/202011:OOCOIAM                                                                                    Page:3
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       Nam e: PHILIPPE,GUY                                          DOB:    02/29/1968
        M RN: 5755670                                               sex:    M
     Agency#: 09783-104 -BO P


Q Active M EolcATloss
Medications                             OrderDate Provider                          StoD Date     Status
AtorvastatinCalcium 20M G OralTablet    09/25/2020   Branch W alterM .D             04/03/2021    Active
   TAKE 1TABLET BEDTIME
hydrocl-ll-oRothiazide25MG OralTablet   10/07/2020   Branch,W alterM.D,             04/03/2021    Active
   TAKE 1TABLET DAILY.




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  11/3/202011:00201AM                                                                                 Page:4
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          Nam e: PHILIPPE,G UY                                                        DOB:02/29/1968
           M RN: 5755670                                                              sex: M ale
        Agency#: 09783-104 -BOP

     O rders
Order                                                 Status             ToBe Done    Orderina Provider       Aoorovina Provider
CO MPREHENSIVE METABOLIC PANEL                        Need lnformatlon                W alterBranch M D,      W alterBranch M.D,
      Completed By::
       Completed Date & Time.;


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   D (CARDIAC)PANEL.I
                    NCLUDES:CFIOLESTEROL, Need Informati
                                                       on                             W alterBranch M.D.      W alterBranch M.D .
TRPGLYCFRIDFS HDL/LDL.VLDL
      Completed By .
       Completed Date & Tlme ;

Blood Pressure                                        Com plete          08/05/2020   LESLIE RUGGENBERG       LESLIE RUGGENBERG R.N.
                                                                                      R .N.
       Blood PressurePosition:sitting;
HeightW eightBMlBSA                                   Complete           08/05/2020   LESLIE RUGGENBERG       LESLIE RUGGENBERG R.N.
                                                                                      RN
                                                      Complete           08/05/2020   LESLIE RUGGENBERG       LESLIE RUGGENBERG R.N.
                                                                                      R.N
Respiratlon                                           Complete           08/05/2020   LESLIE RUGGENBERG       LESLIE RUGGENBERG R N
                                                                                      RN
                                                                         08/05/2020   LESLIE RUGGENBERG       LESLIE RUGGENBERG R.N,
                                                                                      R.N,
        TemperatureMethod:OraI;
VitalSigns                                            Complete           08/05/2020   LESLIE RUGGENBERG       LESLlE RUGGENBERG R.N
                                                                                      R N,
Onslte X Ray                                           Complete          08/09/2020   Melvin Jackson MD       Melvin Jackson MD
        Anatom lcalLocatlon CXR pa/lateralhistory ofpositive ppd,

VitalSlgns                                            Compiete           08/11/2020   Kayla W illiams R.N.    Kayla W illiams R N.
Blood Pressure                                        Complete           08/11/2020   KaylaW illiams R.N.     Kayla W illiams R.N
         Blood Pressure LocationCLUE;
         Blood Pressure Positlon.sitting;
HelghtW elghtBMIBSA                                   Complete           08/11/2020   KaylaW isliams R N.     KaylaW illiams R.N
02 Saturation                                         Complete           08/11/2020   Kayla W illiams R.N.    KaylaW illiams R.N,
Pulse                                                 Complete           08/11/2020   Kayla W illiams R,N.    KaylaW illiams R.N.
Resplration                                           Complete           08/11/2020   Kayla W illiams R,N.    KaylaW illiams R.N.
Temperature                                           Complete           08/11/2020   Kayla W illiams R.N.    Kayla W illiams R.N.
VisualAcuity Left                                     Complete           08/11/2020   Kayla W illiams R .N.   Kayla W illiams R.N
VisuaiAcurty Right                                    Complete           08/11/2020   Kayla W illiams R N     Kayla W illiams R.N,
EKG                                                   Complete           08/13/2020   Melvin Jackson M D      Melvin Jackson M D
VitalSlgns                                            Complete           08/13/2020   TangelaGlasperCMA       TangelaGlasperCMA
Blood Pressure                                        Complete           08/13/2020   TangelaGlasperCMA       TangelaGlasperCMA
         glood Pressure Locathon'LUE;
        Biood Pressure Posltfon Sitting;
HelghtW elghtBM IBSA                                  Complete           08/13/2020   TangelaGlasperCMA       TangelaGlasperCMA
02 Saturatiop                                         Complete           08/13/2020   TangelaGlasperCMA       TangelaGlasperCMA
Pulse                                                 Complete           08/13/2020   Tangela GlasperCMA      Tangela GlasperCMA
Resptratlon                                           Com plete          08/13/2020   TangelaGlasperCMA       TangelaGlasperCMA
Temperature                                           Com plete          08/13/2020   TangelaGlasperCMA       TangelaGlasperCMA
Urlne D1p                                             Com plete          08/17/2020   MARYW ARD R,N.          MARY W ARD R.N.
        SpecimenDate& TimeCollected :,'
         Specimen Draw Pe/ormed by :'
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     11/3/202011(OO(21AM                                                                                                    Page:1
   Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 25 of 104

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          Nam e: PHILIPPE,G UY                                                 DO B:02/29/1968
           M RN: 5755670                                                       sex'. M al
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        Agency#: 09783-104 -BOP

     O rders
Order                                                 Status      To BeDone    Orderinc Provider       Apnrovina Provider
CBC (COMPLETE BLOOD COUNT)Components:W BC, Compl
                                               ete                08/23/2020   Mel
                                                                                 vinJacksonMD          Mel
                                                                                                         vi
                                                                                                          nJacksonMD
RBC,HGB,HCT,MCV,MCH,MCHC,RDW ,PLT, M PV,
% Neutrophils,AbsoluteNeutrophil.0/cLymphocytes,%
Monocytes D0Eosinophils,% Basophils
       Com pletedBy:MARY W ARD RN;
        Compieted Date & Time 18Aug2020 05:00AM.

COMPREHENSIVE METABOLIC PANEL               Complete              08/23/2020   MelvinJacksonMD         MelvinJacksonMD
     CompietedBy MARY WARD RNi
     Completed Date& Time'18Aug202005!00AM:

LIPID (CARDI
           AC)PANEL-INCLUDES:CHOLESTEROL, Compl
                                              ete                 08/23/2020   Melvin Jackson MD       Melvin Jackson MD
TRIGLYCERIDES,HDL/LDL,VLDL
      Completed By:MARY W ARD RN)
       Completed Date & Time:18Aug2020 05:00AM:

Vlta.Slgns                                            Complete    08/25/2020   Karisia Moring LPN      Karisia Moring LPN
Blood Pressure                                        Complete    08/25/2020   KarisiaMoringLPN        KarisiaMoring LPN
         BloodPressureLocation:LuE;
         Blood Pressore Positionrsitting;
Blood Pressure Staodlng                                           08/25/2020   Karisia Morîng LPN      Karisia Moring LPN
         LUE' ,
         Standing;
HelghtW elghtBM iBSA                                  Complete    08/25/2020   Karisia Moring LPN      Karisia Moring LPN
02Saturation                                          Complete    08/25/2020   Karisia Moring LPN      Karisia Moring LPN
        02 Source:RA;
                                                      Com plete   08/25/2020   KarisiaMoringLPN        KarisiaMoringLPN
          FieartRate LocationZL Radial;
Resplratlon                                           Complete    08/25/2020   KarisiaMoring LPN       Karisia Moring LPN
Temperature                                           Complete    08/25/2020   KarisiaMoringLPN        KarisiaMoring LPN
         Temperature Method:OraI;
VptalSigns                                            Complete    09/24/2020   Kayla W illiams R.N.    Kayla W illiams R.N
Bsood Pressure                                        Complete    09/24/2020   Kayla W illiams R.N .   Kayla W illiams R.N
          Blood Pressure Position'Sitting;
Blood PressureStandlng                                Complete    09/24/2020   Kayla W illiams R,N.    Kayla W illiams R.N.
         :standing;
HeightW eightBM I8SA                                  Com plete   09/24/2020   Kayla W illiams R.N.    Kayla W illiams R.N
02 Saturation                                         Com plete   09/24/2020   Kayla W illiams R.N.    Kayla W illiams R.N,
Pulse                                                 Com plete   09/24/2020   KaylaW illiamsR,N.      KaylaW illiamsR.N.
Respiration                                           Complete    09/24/2020   KaylaW illiams R.N.     KaylaW illiamsR.N.
Tem perature                                          Complete    09/24/2020   Kayla W illiam s R.N.   Kayla W illiams R.N.
CCC-Cardiac-lnitlal                                   Canceled    09/03/2020   MelvinJackson MD        Melvin Jackson MD
      Physician Comments .


Urine DIp                                             Active      08/23/2020   Melvin Jackson MD       Melvin Jackson MD
        Specimen Date & Time Coljected :18Aug2020 05:00AM:
         SpecimenDraw Performedby:MARY W ARD RN,

Follow-up vlsitin 1 month                                         39/22/2020   W alterBranch M .D.     W alterBranch M .D.


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          Nam e: PHILIPPE,GUY                            DOB:02/29/1968
           M RN: 5755670                                 sex: M ale
        Agency#: 09703-104 -BO P
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Order                              Status   To BeDone    Orderinq Provider     Annrovinq Provider



Follow-up visitin 3 months                  12/24/2020   W alterBranch M .D.   W alterBranch M .D.
        Comments),'

CCC-Cardiac -F/U                            02/23/2021   W asterBranchM .D.    W alterBranch M.D.
      Physician Comments;

TB Symptomology                    Active   08/05/2021   KatieStapsesR.N.      KatieStaplesR.N.
       Comments :
       NextExam Date:'06Aug2021'
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                      wearasqrgî lmask.RemovePPE,exceptfaceshieldand askatexit,Outsideroom.remole rnaskandwash hands..
                   fJ Continoe m odified housing and observaticn proceduresun il14 days.aftertha lastpcssible exposure date,-
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                    CORONAVIRUSDISEASE2019 (COVID-19)INMATESCREENINGTOOL
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       ,   1. Assessthe Risk OfExposure
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           lfthe answertoANY o./theaboverisk o.
                                              fexposurequestionsisYES,then/rnm clkte/yassesssymptoms.
           2. AssessSym ptom s                                             .                                            Date ofOnset:
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           Ifthe patienthasanysym ptoms,im plem entStandard,Contact,and Airborne Precautionswith EyeProtection
            Ll Regortcasepromptlyto facilitvreadêrship,infectionpreventionand control(IPC),pulblichealthânclRegfonalandCentral
               OfficeQI1PC Consultants.
               Place asurgicalm askon the patientani m inimite proximityto staffand inmates
               Ai1staffescorting,evaluoting,orinclosecontact(6ft.)withlhepatFentshould perform handhygiene,
               putocgloves,gown,fît-lested respprator(N-95),gogglesorfaceshieldandglovesbeforeroom entrycrinmate contact.
               Inmate witlwaara surgicalmask. Doffing:gloves,gow n,exitroom,doffface sbield then :-95 and wash hands.
            FJ Escortpatientto acertified Airborne lnfectionfsolation (AIl)room .
               lfnoAllroom isavailable,isolateînroom withdoorclosed andpreferobl   ya;risexhaastedoutslde.
              Preparefortransporttoadesignated referralhealthcarefacilityincoordinationwiththelocalpublichealth authority(do
                notcallfcrtransportservicewi  thoutpriornotificationardescortinplacetomoveinmate),
            Q Minimizeand keepaIog ofaiIpersonsinteractingwith(6f1.)orcarîngfor,theinmate.
               Once the AlLroom isempty fortwo hnurs, i
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              (EmergingviraTpathogensclaim),byapersoninprcperFPE.
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           lfthe patîenthasno symptom shouse lnasingle cell,and im plem entStandard,Contactand DropletPrecautions
           w ith Eye Protectîon                          '
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                House patientin a single coll.The preferred locatior îswithin HeaIth Services.lfunableto house patientin a single cell
                contactRegionaland CentralOffice Infection Frevention and ControlConsultants.
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                   !# ofpersonsinteractingwithinmate,Utijizesocialdistancing (6ft,).
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              non-contartthermom eter.Utilizedisposable Tocd trays. Haveinm ate clean and disinfectroom dally with disposablp
              tow els,ifpossible,Trashwillbedcublebaggedoutofroom .
              Staf'
                  fentering room wîllperfcrm hand hygiene,wearggcwn,surgicalmask,goggles orface shield and gloves. Inm ate will
              weara surgicalm ask.Rem ove PP8,exceptface shleldand mask ateyit. Outside rocm ,remove mask and wash hands.4
              Continue m odifîed housing and observation proceduresuntif14 daysafterthe Iastpossible exposure date.
            7 Ifatany time the patientbecomessymptom atïc,im plementthe stepsin 3a - TheSymptomatic Patient.

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                Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 34 of 104
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                 E1 Continurm dified hcuslng and obsewationproceduresuntil14days.aftertheIastpossibleexposuredate.                                                                                                                                                                                                                  .
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                 (1 Ifatanytîm thepatlentbecomessymptomatic,imppemeqt.thestepsin3a-TbeSymptomati       cPq
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fnmateName(Last,First):                                 ,
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ProviderName/signature:                                                                                                        TangelaGlas.
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              Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 35 of 104
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                / CoR
                   i INAVIRUSDISEASE2019 (COVI
                                             tD-19)INMATESCREENINGTOOL
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             1. Assessthe Risk OfExposure
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              E7Yes ' o       Had
                              l   closecontactwith anyone diagnosedwiththe COVlD-19 illnesswithinthe last14 days?
             Iftht?onswertozilrtheuboverfskofexposurequestionsfsNO,thcnSTOPhereJrl,procee,wlthnormolintuke.
             /ftheanswerto4NFoltheoboveriskofexposurequestîonjfjYE% thenimthediatelyassesssymptoms.
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             2. AssessSyinpïoms                                   .                                 DateofOnspt:
             L7Yes (E1No geverfFevermaynotbepresentinsomeputientysuchDselderly.immunosuppressed,
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                                    ngcertc/rlmedicatîons.Fevermaybesubjectiveorobjective).
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             z :es E1No       Cough
i             (qyes (E1No j1
                             hortnessofBreath(SOB)
             3. lm plement./
                           lnfection Prèvention CentrolM easurès1
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                                                                JFf5 to the abovequestiontin (23.
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                 3u. The Sym/ptom ctirPatient                                  -
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             Ifthe patienthas1anysymptoms, implementStandard,Contact?and Airborne Precautlonswith EyeProtection
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              JR              j
                  epertcasepyemptlytofacflityIeadership,infectionpreventionandcontror(lPC),pubflchealthandReg7onalandCentral
                 Office QIiPC Consultants.
              rl Place asurglcalmask on the patientand minimize proxim lty to staffand inmates
              n AIIstaf'fes I
                         cort
                            lingaevaluating,orinclosecontact(6ft.)wîththepatientshould perform band hygiene,
                 putongloves,gown,fit-tested respiratcr(N-95),gogglesorfaceshfaldandglovesbeforeroom entryorinmatecontact.
'
                  lnmatewillwyarasurgicalmask.Dcffing:gloves,gown,exitroom,doH faceshieldthenN-95andwashhands.
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               3 Elcortpattentyclacertl
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                                       -edAlrbcrneInfeGionIsolation(AtI)room.
    -.        ( (5IfnoAIlrocm is
              L'l P
                                   Avallable,isolateinroom with doorclosed andpreferablyaTrisexhaustedoutslde.
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                    reparefortraIns
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                                                                                                             ichealth authority(do
1                  notcallfcrtranspartservtcewithoutpriornotificationand escortinplaceto movelnmate).
.             E) Minimizeard eepa I      ogofaI1personsinteractingwi th(6f1.)orcaringfor.theinmate.
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              T OncetheAlIr om isenlptyfortwo hours,itcanbecleanedanddisinfectedw1than EPA registereddisinfectant
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                              pathogensclaim),byapersonEnproperPPE.                                            '
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                 onosymptomshouseinasin.     glecell ,andimplementstandard,ContactandDropletPrecautions
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                                                          hinHealth Services,Ifunableto housepatientinasinglecell
t                 contactRegi naland CentralOflice 2rfection Preventlcn and ControlConsultants.
              Z Limi
                   t#ofpe Sonsinteractingwithinmate.Utilizesocialdistancing(6ft.).
              EEI Documentatail
                              ysymptom assessmentandtemperature(lnmatecangelf-moni
                                                                                 torwithdispcsablethermomêteroruse
                  non-contact hermorreter.Utilize disposable fcod trays. Havelnmate clean and disinfectroom jailywith dlsposable
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                  tow els,ifpo sibla.Trash wîllbe doabl
                                                      e bagged outofrcom .
              rl staffenterin room willperform hand hvglene,wearagow n,surgicalmask,gogglesorface shleld and gloves. lnm ate w irl
                  weara sargi alm ask.Rerroke PPE,exceptfacashield and mask atexit.Outside rocm,rem ove maskand wash hands.
              C1 continae m dified housing andobservationproceduresuntil14daysafterthe (astposssbleexposuredate.
              EEI Ifatany tlm the patientbecom essymptomatic.im plementthestepsi3 3a - TheSymgtomatic Patient.
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         '             1
7' .     nmate Name (Las
                       It,Fi
                           rst): Philinne,Guv                       Registration # 09783-104
    - Institution: M cRae CorrectionalFacilit - M CA
         PruviderName/sgnature:                    TangûlaGla:per.CVA                            Date:       W R Y             -   .


         February2020,Ver F(?r)2.0
                    Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 36 of 104



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  - . 1. Assess the Risk OfExposure
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            ' E:IYes           No     Traveled from,orthrough,anyofthelocationsidentifledbytheCDC asincreasi
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                    71Yes .No         Had closacontactwith anyone diagnosedwith theCOVlD-19 illnesswithin theIast14 days?
                    4/theanswerto4tlthe uboverlsko.jexposureques'tionsIs&t7,thenSTD/ hereandproceed wfth normalIntuke.
                    IftheanswertoANYo.ftheaboverFskofexposureqt  /e#tl
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                    2. AssessSym ptom s                                                             .                                       DateefOnset:
                    (1Yes D No        FeverfFevermaynotbepresentin som epotl
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                                      ortakinqcertainmedications.Hverrrnybesubjectiveorobjective).
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                    3 Yes (
                          7 No        Eough
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                    DYes Z No ShortnessofBreath(SOB)
                    3. lmplementlnfectlonPreventionControlMeasures11FfStôtheabovequestionsin(22.
                       .RJ.The Sym ptom aticPatient                                                           .
                    lfthepatienthasany symptom s,lm plem entStandard?Contact,and AirbornePrecautionsw1th Eve Protedion
                      (D ReportcasepromptlytofacilityIeadership,infectlonprnventionandcontrol(IPC):publicheal
                                                                                                            thandRegionalandCentral
                        OffqceQIIPC Consultants.
                        Place asurgicalm ask cn the patientacd minim i
                                                                     ze proxim it
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                               fescorting,evaruating,orlnclosecontac:(Gf1.)withtheiatlentshouldperform handhygi
                                                                                                              ene,
                        putongloves,gowr,fit-testedrespîrator(N-95),goggle!orfaceshleld andglovesbeforeroom entryorinmatecontact.
                        Inm atew il!w eara sgrgscalm ask.Dcffsng:gloves,gown,exitrocm,dof'
                                                                                         fface shieldthen N-95 andwash hands.
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                     O EscortnatsenttcacertlpedAirborneInfec:ionlsolation (Al1)room.
N   .                C.IfnoAIlroom i5available,isolatein room withdoorclosedandpreferablyairisexhausteccutside.
                     L) Preparefcrtransporttoa designatedreferralhealthcarefacilityin coordi
                                                                                           nationwltbthelocalpubllchealth authority(do
                         notcal
                              lfortransportservlcewlthoutpriornotifi
                                                                   catlonandescortlnplaceto movelnmate).
                     O Minimizeand keepa1% ofalIpersonsinteradingwith (6f1.)orcaringfor,theînmate.
                     (7 Oncetheât(rcom isem ptvfortw ohours,itcanbecteanedanddlslnfectedwlthan EPA registereddisinfectant
                        (Emergingviralpathogensclaim),by aperson inproperPPE.
                  Z W astedisposal:Doublebagtrashashazardouswaste.Linens:Dcuble bag inIinen hazardbagforwashingin centrallauntry
                    3b.TheAsymptom ctic Flt/ent                            '
                Ifthe patienthasno symptomshouse îna single cell,and implem entStandard,Contactand DropletPrecautions
                w itb Eye Protection
                       fleportccseto facilityIeadership,QIICP,publichealthandRegionaland Centra)Offi
                                                                                                   ceQIIPCConsultants.
                           lousepatientinnsi
                                           nglecell.TheprcfcrredIocationi5withinHeaIthSewices.Ifurabletohousepati
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                           contactRegionaland CentralOffice Infecti
                                                                  on Prevention and ControlConsultants.
                           Limit#ofpersonsinteractingwith Inrnate.ltilizesoci
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                                                                               stancing (6ft.).
                           Documentadailysymptom assessmentandtemperature(Inmatecansel        f-monitorwithdispolabl
                                                                                                                   ethermometeroruse
                        non-contactthermometer.Utilizedisposable food trays.Haveinm ate clean 3nd disinfectroom daily with disposabie
                        :owels,ifpossible.Trash willbedouble bagged outofroom .
                        Staffentering room willperfcrm hand hygiene,wearagow n,surgicalm ask,goggles orface shiel d and gloves. Inmate w i
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                        w earasurgicalm ask. Rem ovePPE,excoptfaceshseldandmaskatexit.OutsTderoom ,rem cvem askand wash hands.
                     U1 Continue modpfied housing and observation proceduresuntil14 daysafterthe (astpossîble exposuredate-
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                     -) lfatany time the patientbecomesw m ptom atlc,lmplem entthe stepsin 3a - The Sym ptomatic Patient.

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            nmate Name(Last,Fgsst): Philinpe,Guv                                          Registration # 09783 104
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            Institution: M cRae CorrectionalFacilit = M CA-                          --

            providerName/signature:                           Tanzel
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     X
                  CORONAVIRUSDISEASE2019 (COVID-19)INMATESCREENING TOOL
    1. Assessthe Risk OfExposure
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     éYes - o Traveledfrom,crthrcughzanyofthelocaticnsidecti
     -                                                     fied bytheCDC asincreasingepidem iclogicrisk
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                            w ithin the lact14 days? Link to CDC Cri    -


     - Yes     o jyiac'ctosecontactwi   thanyonediagnosetwiththeCOV1D-19ilinesswithintheIast14days?
    11the nnswertoz/.lthetJlic,kœ riskofexposurequestionslsN% thenSTOPhereondproceed wlth norm ulîntnke.
    IjtheunswertoANY0/thccboveriskof:xposurequestionsf<YES.thenfmmcd/ate/yassesssymptoms.
    2. AssessSymptoms                                        ,                                   DateofOnset;
    L?Yes rlNo lFeverLFevermlynotbepresent/
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                                          nsomepatients,sucàla5e/tgr/ygimmunosuppressed,
                        (ortakingcertain.mydications.Feverrr?
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    L1Yes t
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          '1No              Cough
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    iyes f.
          -JNo ShortnessofBreath(sOB)
    3. ImplemantlnfectTonPreventionControlMcasuresî
                                                  !Ff%totheabovegtzelt/ensin(23.
             Jr.The sym ptom ct/cPutient
    lfthepatienthasanysymptoms,im plementStandafd,Contact,and AirbornePrecautlonswith Eye Protection
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     7) Reportcaseprcmptl
                        ytofacilftyieadership,infectionpreventionand control(lPC),publichealthandRegionalandCentral
        Ultjcz QJIf
                  'L Consultants.
     F7 P,acea Furgicalm ask (
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     C) AIistaiiescortingzevaluating,orinclosecontad (6ft.)w1ththepatientshoul
                                                                             d perform hand hygiene,
        putongloves,gown,fit-testet respiratcr(N-95)?gogglesorfaceshieldandglovesbeforeroom ertryorinmatecontact.
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     C1Escortpatienttoacertt     lied AirborneInfection Isolation(AIl)room.
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     E1preparefortrarsporttoaiesignated refarralheal        thcarefacilityincoordinaticnwiththeIccalpublichealth atl
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             notcallfortransportservicewlthoutprlornotificaticnand escortinplacetcmoveinmate).
     Z MinimizeandkeepalogofaIIpersonsinteractingwith(6f1.)orcaringfor,theinmate.
     (
     LI Once the AlIrozm is em pty fortwo hours, itcan be cleaned and dlsinfected wîth an EPA registered disinfectant
             (Emerg'
                   .ngvira1pathogensclaim),byapersonin properPPE.
     C WastedispcsaI;Dcublebagtrashashazardouswaste.L'
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                                                     nens:DoublebagCnIrnpnhazartb2gforwashingincentra1Iaundry
        Jb.TheAsymptom akicPatient
    Ifthe patienthasno symptomshouse in asingle cell,and implementStandard,Contactand DropletPrecautions
    w jth Eye Protection                                        '
         Z Reportcaseto facilityfeadership,QIICF,publichealth andRegionalantCentralOfficeGIIPCConsultants.
          1 qlousepatientin asingleceil.Thepreferred IccationiqwithinHeatthServices.I
                                                                                    funabletc housepatientinasinglecell
               ccntactRogicnaland CentralOffi
                                            ce ïnfection Prevention and ControlConsultants.
         Cl Limit# ofpersonsinteractlngwi
                                        thinmate.Utillzesocialdistancing(6ft,).
         Z DocumentadaiLysymptom assessmentandtemperature(1nmatecanlnlf-monitorw1th disposablethermometeroruse
             con-contactthermom etor,U:ilize disposable fcod trays. Haveinmate Cleanand disinfectroom dairywith disposable
             tcwels,ifpossible. Trash wiIibe double bagged outofroom .
         L-1 Staffentering room willperfcrm hand hygiene,wearagown,surgicalmask,goggtesorface shield and gloves. lnm ate will
             weara 5urgicu!m ask,ilemove PPE,exceptface shield and maskatexit. Outside room,rem oke m ask and wash hands.
         L1 Contznue modifiedhcusingandobsew ationproceduresuntil2.     4daysafterthelastpossibleexposuredate.
         t-I lfatany time the patientbecom essym ptomalic?implem entthe stepsln 3a - TheSym ptomatic Patient.

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nlxlateNam e(Last,First): Philippe,Gav                                Registration # 09783-104
lnstltution: M cRae Correctionalracilit - M CA                                            l

providerxame/signature:                                         . .-n-k..? ucqaecorrectiona!F'
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             CORONAVIRUSDISEASE2019 (CO ID-19)INMATESCREENINGTOOL
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    1. Assessthdl Risk OfExposure            I
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        ps .., o Trakcledfrcm ,(  )7throuqh,arlvofthe Iocati nsidentified by the CDC a5Jncreasingepidem iologicrisk
                  withir
                       nthp last 14 days? Linktç COC Cr'terla
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    GlYes .. 'c Had closecontactw ith anyonediagnosedw iththeCOVlr)-19 illnesswitbinthelast14 days?
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    itheznswerto ALl.thenboveriskofcxpoxare questionsf.
                                                      çNO,thenS'TOP hereundproceed withnormolintuke.
    /./theunswertoANYoftheuboveri
                                skofexposure questionsis YES,thenimmediatelyansesssymptoms.
    2. AssessSym tom s                                                                                          Date ofOnset:
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       fes L-JNc Fever(feberm oynottpppreseotinsomepatients.such aselderly,immunosupprened.
                 ortaking certa/
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     -lYes L1pko     Cough
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       'Yes LiNo ShortnessofBreath (SOB)
    3. Implemen InfectïonPreventionControlMeasuresi
                                                  jFEY totheaboeequestionsin(23.
        3a.TheSy ptom aticPatçent
    lfthe patlenth sany sym ptom s,im plementStandard,Contact,andAirborne Precautionswith E9t Protection
        Reportcase promptlytofacilityleadership,infection proventionardcontrol(lPC),publîchealthandRegionaland Centra!
       cfffceQIIP ConsuItapts.
     (
     J Place asurg ca1mask on the patientar)d m inimize proxim i
                                                               ty to staf
                                                                        'fand inmates
     A1fstaffesc.rting,evaluating,.
                                  orînclosecontact(6f1.)withthepatientshouId perfcrm hand hygiene,
     putonglov s,gcwn,fit-testet respirator(N-95),gogglesorfaceshieldant glokesbefore room entry orinmatecontact.
j    Inn7g:ewEi!vearasurgica1r-nask.D:affing:g!oves,gown,exitroom,doffface 5hield then N-95and washhands.
j Escortpatiejttoacerts    fiedAirbornetnfacticnlsolation(AJl)room.
  7 lfcohllraor '
                nisavailable,isoIate rnraom with doorclosed andpreferatly airisexhausted outsite.
    Preparefor ransportto adesignated raferraihealthcarefacilityin uoordFnationwiththeIocaliublichealth authcritytdo
        notcall,
               for ransportservîcewlthoutpriornotificationand escortin placetc moveinmate).
     0 Minirnizea dkeepalogofalIpersonsinteractingwith(6ft.)orcaringfcr,theinmate,
     O Orlce the AI rcom isem ptyfortwo hours, itcan be cleaned and disinfected w ith an EPA registered disinfectant
       (SmergingvraIpathogor
                           nsclaim),byapersoninproperPPE.
       W aste dispc al: Double bag trash ashazardouswaste. Linens:Double '
                                                                         aag in Iinen hazard bag forwashing in centralIaundry
        3b.The Asym ptom uticPakient
    Ifthepationt6asnc symptomshouse in asingle cell,and im plem entStandard,Contactand DropletPrecautions
    w ith Eye Proteytion
         Reportca e te facility Ieadûrship,QIICP,ptablichealth and Regionahand CentralOffice Ql1PC Consultants.
         House pa ientin asirlgle ceI1.The preferrcd Iocation iswithinHealthServiccs. Ifurable to house patiantîn a single ceII
         contactR gionaland CentralOfffce lnfection Prevention ard ControlConsultants.
         Limit#ofpersgnsinteractingwitbinmate.Otilze socialdistancing(6ft.).
         Dccurnen a daiiy syfrpptom assessm entand temperature.(Inmatecanself-mcnitorwi
                                                                                      thdisposablethermometeroruse
         non-cont c!therrnom eter.Utilize disposablefood trays. Have inm ateclean and disinfectroom daily wîth disposable
         towels,if lossible. TraSh wi11be double bagged outcfrcom .
         Stdffent rirlg focr'
                            nwiliperform hand hygienc,wearagown,surgicalm ask,goggiesorface shiel   d and gloves. lnm ate will
         wearasu gl  catm ask. Remove PPE,exceptfaceshield and m askateyit. Outsi  de room,rem ove maskand wash hands.
         ContinuC!tvndifiedhcusingi'ndobsurvati
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nm ate Name Last,First): Philippe,GuV                       Registration < 09783-104
Institution:       cRae CcrrectionaIFacilit - M CA
ProviderNam ysignature:                                          McRaocarfecti
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    q,5                            CORONAVIRUSDISEASE2019 (COVlD-19)INMATESCREENING TOOL
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ProviderName/signature:                                                                                                          YY aGlêemr.C.
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                      CORONAVIRUSDISEASE2019 (COVID-l9)INMATESCREENING TOOL
          1, Assessthe Risk Offxposure                                                                                   .
           r.
            lYes 7
                 -, o Traveled from,orthrough,anyofthe Iocatîonsidenti
                                                                     fied bytheCDC asincreasingepidemiologicrisk
                      within tht?last14 àays? Liakto cl
                                                      '
                                                      ?c criterfa
                                                        .


          f7Yes .
                -i o )Had clcse contactwithanyonediagnosedwiththe COV1D-19 i llnesswithin thelast14 davs?
          / theunswerto;1ltheaboveriskofexposurequestkonsisNO,then5TO#here(7rl:proceedwftllnormulintuke.
          l
          fthe(7rls-ertoANYofthcuboverisk0/exposurequesttonsisFFS,then/mmpl/ctelposyesssvwptonw
          2      AssessSym ptom s                                            '
                                                                             .           '                            Date oforset:
          L2Yes (
                2 No ,reker(fevermoynotbeprc-    çer?tth s'orr?epatients,suchsselderly,Immunosuppressed,
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                                                                                ;robjeclive).
          1
          :5Yes 0 No         Courh
           C-'Yes F-
           --      lNo 1
                       :
                         GhortnessofBrcath(SoB)
          3- lmplementInfectionPreventionControlMeasures% Ff.
                                                            :tothecbovequestionsin(23.
              3a.Fhc Symptom atk Pctient
          lfthe patfenthasanysymptoms,implementStandard,Contac'
                                                              t and Airborne Precautionswith Eye Protedion
           !-1 Repcrtcasepromptlyto fac7lityIeadership,infectionireî
                                                                   zentlcnandcontro!(!PC),publichealthandRegfonalandCantral
                Office QI1PC Consultants.
                Placea sllrgi
                            f-almaskon t'he patientanù m inim ize prcwim ity to stnffand inm ates
                A1lstaffcsccrting,evaluating,orinclosecontact(6ft.)with thepatientshculdperform hand hygiene,
                putongloves,gown,fit-lested respirator(N-95),goggresorfaceshicldandglovesbeforeroom entryorinmatecontact.
                 fnrrlatewillwearastlrgicalmask.Doffing:gloves,gowndexitroom,doffface shieidthen N-95andAashhands.
           E5 Escortpatienttoaz'erti
                                   fiedAirborneInfedion Isolatlon(Afljroom.
         r Z)lfnoAflroorr isavablable,isolatcin rocm withdoorclosedandpreferabk airisexhausted outside.
     '
           FJPreparefortranspof- ttoadesignatedreferralbealthcarefacility incoordinationwith theIoc-alpublichealth authority(do
               notcallfortransportsorvicewftheutpri crnctiffcationandescortin placeto movcinmate).
               MinimizfaanhkeepaIog ofaIlperst acsintcracting with (6ft.)orcaringfor,theinmate.
                OnzetheAllroom isenapty fztï.two hct
                                                   ;rs, ftcan be clcaned antjdîsinfected with an EPA registered disînfedant
                (EmergingviraIpathogenscfaim),byapersonin properPPE.
           (
           7 W astedisposal; Double bag lrash ashazardouswaste, Hnens: Double bag in linen hazard bagforwashing in centrallatlndr
                                                                                                                                'y
                Rb.FheAsimptomaticPatient                                                                                     .
         lfthe patienthasno sym ptoms house ina single cell,and implem entStandard,Contactand DropletPrecautions
         with Eye Protedion
           rl fyeportcaseto facility readarshîp,QfICP,ptlblichealth and Reglona!and CentralOffice QIIPC Consuttants.
               kiousepatjcntln asinglecell.Thep;referredlocationiswithinHealthServices. h  funablctf  :
                                                                                                      ?house patientln asingiecell
                  contactRegi
                            onaland CentralOfficêIzlfoction Prevention and CcntrolConsuftants.
                  Limit#()fpersonsinleractingwithinmatë,Utilizesacialdistancing(6 ft.).
                  DocumentadaiIySym ptornaSsessmentarldterllperatare(1nmatecanseIf-morlitcrwithdisposablethermometeroruse
                  rrcn-cantacttherm om etor.Utiliz/ disposable food trays. àIqve inm ate clean anJ dlslnfectroon)dally wlth disposable
                  towpfszifpossiblf!.Trash wilrbe doubIe bagged outofroom .
                  Staffentering room willperform hand hygiene,weara gown,surgicalmask,gogglesorface shield and gloves. Inm ate will
                  wearasurgitzlm ask. Remove PPE'    Zexceptface shleld and mask atexit. Ou:side roon?,rem ove m askantiwash hands.
              g.l Continue mr adified housingand observati on proceduresuntil14 days aftar1he Iastgossible exposuredate.
              L1 (fatanytinle tile patientbeconlessyr  'nptorllatîc,implem entthc stepsln 3a- The Sym ptom atlc Patîent.


     lnmate Namc (Last,Fir6t): Philippe,Guv                           Registration# 0978-3-104
   - '
     lnstitution: M-.-cRae Correctionc Facilit -                CA
     providerName/signature'
                           ,                                               çfi       . ' ..         Dat'e:          '
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        z
        t)s C'ORONAVIRUSDiSEASE201$ (COVlD-19)INMATESCREENING)-OOL
    ! 1. Assessthe Risk OfExposure
       vtos îzi'o Travele:frcm,orthrough,anvcfttlelocatinsidentifiedbytheCDCasincreasingepidemiologicrisk
                       lwithinthelast14days?Linktok(3C,Criterl
     L-JYeS '' C) tH 3d close contactw i
                                       th anyone diagnosed lIth tllc COVfD-19 illness within the last14 days?
     //theanswerto?l!LtheaboveriskojexposurequestionsisM(;,thenSTOPhereundproceedwithnormalîntake.
     /.JtbeanswertoANYoftheabove r/skofexposurequestionsi
                                                        sVES,then immedlatelyassesssymptoms.
     2. Assesssym ptom s                                                                                             Date ofO nset:
     '!Yes (7No         Fever(Fevermcynotbcpccscntinsomepatienth suchgselderly,frncpf
                                                                                    prlt/.
                                                                                         çtzppressed,
                        ortokingcertdfrlmedicadons,Fevermoybesubjectiveorobjective).
     L)Yes I
           D No         Cough
     EJYes E1No shortnessofBreath(sOB)
     3. lm plementInfectîon Prevention ControlM easuresI
                                                       T Ff'
                                                           -
                                                           çto the abovequestionsIn (23.
        3a.The Sym ptom aticPatient
     Ifthe patienthasany sym ptom s,im plem entStandard,Contacl,andAirborne Precautionsw ith Eye Protection
      1
      7 Repor'
             tcasepromptlytofacilrtyIeadership,înfectionpreventicn andccntro!(lFC),publ
                                                                                      ichealthand Regionaland Centraî
         Offfce QIIPC Consultants.
      L) Placc a surgicalmaskcn the patientand m inimize proxim ityto staffand inm ates
      Z1 AIlstaffescoi
                     -tirg?evaluating,orinclosecontact(6 ft.)with thepatîentshourdperform handhygiene,
         pultongloves,gown,fit-tested respîrator(N-S5),gogglesor.facoshieldandglovesbeforeroom entryorinmatecontact.
         lnmate willweara surgicalmask. DoTfing:gloves,gown,exitroom,dcffface shietd then N-95 and w ash hands.
      5J Escortpatientto azertt
                              fled AirborcelnfectionIsolation(AII)'
                                                                  room.
      L.IfnoAllrocm isavailable,isol ateinrcom withdoorclosedandpreferoblyairisexhausted outsi  de.
      F-lPreparefortransportto adesignatedreferralhealthcarefacitityin coordinationwiththe r
                                                                                           ocalpubl
                                                                                                  icheafth authority(d0
         nctcallfortransportseaice withöutpriornotificationandescortirlpi  aceto moveinmate).
     FD Minimizeardkeepa1ogofaI      lpersonsinteractingwith(6f1.)orcaring for,theinmate.
 '
 k
   Lz Once theA15rocm isem pty fortwo hours, i
                                             t can be cl
                                                       oaned and disinfected with an EpA registered di
                                                                                                     #si
                                                                                                       nfectant
        (E
         qmergingviralpathogenscla'm),bvaperson CnproperPPE.
     :7 W aste di
                sposal: Double bag trash ashazardot;swaste. Linens;Double bag in I
                                                                                 inen hazard bag forwashing In centraIIaundw
        3b.TheAsym ptom utlc Pot/eêlt
    Ifthe patienthasno sym ptom shouse in a sirgle cell,and,implem entStandard,Contad andPropletPrecautions
    vzith Eye Protection                                           .
       '
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       -.  Reportcaseto facfI(
                             ty leadership,QIICP,pJbllchenIth and Regionarand CentralOffice QllPC Cocsultants.
      Q Housepatientinasingleceli.ThepreferredIocationiswithln HeaIth Services.lfunableto hat
      Z                                                                                             asepatientin asinglecell.
           contact Regionaland CentralOfficc lnfection Prevection and ControlConsultants.
            Llrrlit#ofpersonsinteractingwith i
                                             nmate.Utilizesocialdistancing(6f1.).
            DocumentE  !dail
                           ysymptom assessmantandtemperatare (inmate can self-monitorwithdisposablethermometeroruse
            I
            loo.cof
                  ntacttFlerrnom eter.Utillze dispcsabla food trcys. l'
                                                                      lavq inm ate clean and disinfectrocm dailyw ith dîsposable
            towels,ifposslble.Trash wil!be doublebaggedoutcfroom ,
            Staffenteringroom willperform handhygiene,wearagoin
                                                             1
                                                               ,surgicalmaskzgogglesorfaceshieldandgloves.Inmatewill
            weara Surgicalmask. Rem ove PPE,exceptface ShFeld and mask atexit. Outslde room,rem ove maskand wash hands.
     EJ Continuemodifiedhousingandobservationprocedurescit
                                                        I i
                                                          l14daysafterthedastpossibleexposuredate.
l C1 !#atanv f;me th@ pationt becomessym ptomatic,irnpiem entthesteps in 3:- The Svmptom atic Patient.

'
nmateNam e (Last,First):Philiooe,Guv                            Registratîon# 09783-104
Institution: M cRae CorrectionalFacilit - M CA
P                                                           .         Jo! an          ' ksityo te:
    roviderNam e/signature:             ,           f                    ecofrectîonatFaG      a
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                          l
                            oNAvlRusDlsEAsE2019 (COVID-19)INMATESCREENINGTOOL
         1. Assess the Risk OfExposure
          c
          -ycs A o t
             -.-
                   ;Jraveledfrom,orthrough,anyoftheI
                                                   ocatinsidentifi
                                                                 edbythêcocasincreasingepidemiologicrisk
                                  within the last14 days? Link to CDC Criteri
          (
          -1Yes               o   Had close contactwithanyonediagnosed IiththeCOVID-19 illnesswithintheIast14 days?
                                               . .   .                    1
         /theunswe
                 'rtoAtftheaboverf
                                 &kc1expoltzrequestionsf<N% thenSTOPhereolld/lroree/wlthnormalintake.
         //the(zrl-swçrtoANYoltheoboveriskofexposurequestioniCsYEX thenimmediutelyassesssymptoms.
         .

         2. Assessi
                  'sym ptom s -                                           p                                             oateofonset:
          ''                                                              i .        . -.
          (
          -1Ycs E1ko              FeverfFevermay nctbe preseetinsomepajtients, suchuse?derly,/mrntzrlosupprefsed,
                                  ortaklngcertcfrlmedicatioos.Fevermaybessbjectlveoroblective).
          L Yes Z No              Cough
                                                                          1
          L'Yes Z No ShortnessofBreath(S0B)
                                                                          t
         3. Im plementInfection Prevention ControlMeasuresJ
                                                          T YESto theubovequestionsin (23.
                   3a. The Symptom uticpatlent                    i
                                                                  I
         lfthe patienthas' any sym ptoms,implem entstandard,Contact,and Airborne Precautlonswlth Eye Protectlon
             Repcrtcase prom ptlytofacill
                                        tyIeadership,infectp
                                                           onpreknntioc andcontrcl(IPC),publicheal
                                                                                                 thandRegionalandCentra!
                OfflceQIIPCConsut tants.
             L) Place asurgicalm askon the patientand m inimizaproxim ityto staffand inm ates
             Z AIlstaffescorting,evaluating,orinclosecontact(6ft.)withthepal/entshouldperform hand hygsene,
               putongloves,gown,fit-testedrespirator(N-95),gogglesorfaceshieldanr jglovesbefore room entrv orinmatecontact.
                   fnm ate willweara surgicalmask. Doffing:gloves,gown,eyitrcom,doffface shield then N-95 and wash hands.
     '  E5 Escortpatientto acertijiedAirbornelnfectionIsolation(A!()rocm .
     'i C lfno AIlroom isakailabTe, isolateinroom wkthdoorclosed,  t
                                                                   andpreferablyaCrisexhaustedoutside.
        E)Preparefortransporttoadesi    gnatedreferralhealthcarefacilitylncoordinationwiththeIocalpublichealth authority(do
            notcallfortranspor'
                              tservicewlthoutpriornotificationandescortinplacetomoveinmate).
           M inir
                mize and keep alogofatIpersonsinteractingwith(6f1.)orcaringfor,theinmate.
                   Oncethe Allroom ispmpty fortwo hours, it:an be cleaned and disinfacted wîth an EPA registered dislnfectant
                   (Fmergingviralpathogensclaim),bvaperscnlnproperPPE,
             (:1W aste dlsposal: Double bagtrash ashazardouswaste. Linens: Double bag in Iinen hazard bag forw ashing în centralIaundw
             Jb.TheAsvm ptom utic Pct/er)t
         lfthe patienthasno sym ptom shouse in asingle cell,and implem entStandard,Contactand DropletPrecautions
       w ith Eye Protection
         f'.'..1 Reportcase to faci
                                  lrty Ieadership,Q.
                                                   '1CP/publlchealth and Regioraland CentralOffice QllPC Consultants.
         E1 Housepatiantin asinglecelr,Thepreferred I       ccatiociswithinHeaI thServices,lfunabl etohousepatientinasinglecell
     '
                 contactRegionalandCentralOfflcetnfectionPrevecticnand ControlConsultants.
              7 Limit#ofpersonsinteractingwithinmato.Utilizescci
                                                               aldistancing (6ft.).
             L-) Documentadail
                             ysymptom assessmentandtemperature (1nmatecanself-mcnitorwithdisgosabletharmometeroruSe
                 non-contactthermom eter.Utirize drsposablefood trays. Have inmate clean and disinfectroom dailywith disposable
                towels,ifpcssible.Trash wFIIbedouble bagged cutofroom .
                Staffentering ruom wi11perform hand hygiena,weara gown,surgicalm ask,gogglescrfnce shIold anu gloves. lnm atewill
                weara surgicalm ask. Remove PPEZexceptQue shield and m ask iltexi t. Outside room ,remove maskand wash hands.
             LJ Conltinue modified ncusingand observation procedures:antil14 daysafterthe Iastposslble exposure date.
             E5 lfat.anytim ethe patientbecom essym ptomatic,implem entthestepsin3a-.7-heSymptomaticPatient.
                                                                         r
 Je'
 ,
     inmate Nàme(Last,First): Philippe,Guy                           Rekistration# 09783-104
'Institution! MçFae CorrecticnalFacilit - M CA
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                                                                              Jcr ar
                                                                                   )        ; jjty
     ProviderNam e/signature:                              r                           ectiunatFBC oate:
     Februory 2020, Version J.&
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                  CORONAVIRUSDISEASE2019(CO iD-19)INMATESCREENINGTOOL                                                          j
        1. Assegsthe Rlsk OfExposure
        7 Yes -'
               t#'
                 c )Traveled from,orthrough,anyofthe locati
                                                          onsidentified bytheCDC asincreasingepidemiologicri
                                                                                                           sk
                        JwithintheIast14days?Link.t.c-C-
                                                       DCCriteria
        L7Yes ' o        Had close contactw1thanyonediagnosedwiththeCOV!D-19 illnesswithinthe Iast14 days?
        ltheunswertoAtLtheuboveriskofexposurequestionsisN% thenSTOPhereandproceedw/t:normulintnke.
       lftheunswertoANYoftheaboveriskofexposureqtzestforuIsFFS,thenImmediatelyassesssymptoms.
       2. Assesssym ptom s                                                ,                                      Date ofOnset:
        :)Ycs E)No       Fever(Fevcrma;notbepresentinsome patients,such oselderl
                                                                               y,îmmunosuppressed,
                         ortaki
                              n gcert
                                    a/.
                                      nmedi
                                          cat
                                            ions. Fevermaybeïbsubjectiveorobjective).
        7 Yes U No       Cough
        E
        ')Yes :)No ShortnessofBreath(5OB)
       3. lmplementlnfectionPreventionControlMeasuresi
                                                     jFF.
                                                        çtotheubcuequestionsfn(22.
           3a.The symptom atic Pntient
       lfthe patienthasanvsymptoms,im plem entStandard,Contact,andAirborne Precautionswith Eye Protection
            Repor
                'tcasepromptlytofacilityIeadership,infectionprevention3ntcontrol(IPC),publichealthandRegiona!andCentral
            OfficeQIIPC Ccnsultants.
         L'
          l Place a surgicalmask on the patientand m inimize proximity to staffand inm ates
         EEI AILstas escorting,evaluating,orînclosecontact(6f1.)witht  !hepatientshouldperform hand hygi
                                                                                                       ene,
             putongloves,gown,fi   t-tasted respirator(N-95)zgogglesorfaceshield andgrovesbefore room entryorinmatecontact.
            Inmate w lllweara surgicalm ask. Dcfffng:gloves,gcwn,exitrcom ,doffface shleld then N-95 and wash hands,
        rlEscortpatienttoacertêiedAirbornelrfection l solation (AII)rocm.
      : LJ lfnoAlrrcom isavailable,isolate inroom withdoorclosedandpreferablyairisexhaustedoutside.
        Z Preparefortransportto adesignated referralhealthcarefacilî t'yincoordinationwiththeIocalpublichealth authority (do
            notcallfortransportservicewithoutpriornotificationandescortin pl aceto moveinmale).
            MiaimizeandkaepaIogofaIIpersonsinteractpngwith(6f1.)orcaringfor,theinmate.
           Oncethe AIIroom isem pty fortwo hours. itcan be cleaned and di
                                                                        sinfected w ith an EPA registered disinfectant
           (lmergingviralpathogensclaim),b?aperson inproperPPE.
        :) W astedisposal: Double bag trash ashazardouswaste.Linens:Doublebag in Iînen hazard bag forwashing in centrallaundry
           3b.The Asym ptom atk Patient
       ffthe patienthasno symptomshouse ina single cell,and implem entStandard,Contactand DsopletPrecau:ions
       w ith EyeProtection                         '
          Z qeportcasetofaciliryIeadership,QI
                                            ICP,publichoalthand Reglona!andCentralOfficeQIIPCConsultants.
          E1 Housapatientinasinglecetl.Thepreferredlocationisw i
                                                               thcnAealthServices.lfunabletohousepatientinasinglecel
                                                                                                                   l
             contactRegienaland CentralOffice rnfeutiurhPrevention and ControlCcnsultants.
           Limi
              t#ofpersonsinteractîngwith înmate.Utllizesoclaldfstancing(6ft.).
         Z Documentadailysvmptom assessmentandtcmperaturo(lnmatecanself-monîtorwith disposablëthermometeroruse
            non-contacttherm om eter.Utilize disposable food trays. Hqve inm ate clean and disinfectroom daily with disposable
            towels.ifpossi ble.Yrash willbe double baggeé outofroom .
            Staffentering room w illperform hand hygiene,w eara gown,surgicalm ask,goggles orface shield and gioves.lnm ate will
            wearasurgicalm ask.Remove PPE,exceptfaceshieliand maskatexit.Outsideroom,rem ovemaskandwashhands.
            Continuem odîfîed hcusîngand obsewation proceduresuntil14daysaftertheIastpossîbleexposuredate.
         F.
          1 Ifatany time the patientbccom essym ptom atic,Im plement:he stepsin 3a- The SymptomatlcPatient.
                                                                      1
  '
 ..
      jnmate Name (Las1,First): Philippe,Guy                    Registration # 09783-104
-'
 - Institution: M cRae Correction IFacilit - M CA
      ProviderName/signature:                                                      ' ..       Dale:    //-
                                                                                                         6 .CC.I
  February202% Version 2.0
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                 <
          C        CORONAVIRUSDISEASE20J9 (COVlD
                                                rl9)INMATESCREENINGTOOL
-
        1. Assessthe Risk OfExposure                                                                                          '
         (
         -1Yes L1N   Trnvclodfrom,orthrough,anyofthelocati    onsidentifiedbythe CDC asincreasingepidemiologicrisk
                     withinthe Iast14 davs? kinkJP CDC Criteria
                                                          -

         / Yes :!N&- Hadclosecontactwith anyonediagnosed withtheCOVlD-19 illnesswithinthe Iast14 days? '
        I
        f tàeunswerto ;tlthe uboveriskolexposure qtl/st/srls'isNO,then STOP here andproceed with normalintoke.
        l
        ftheanswertoANYoftheuboverîsko/exposurequestionsisYES,thenimmediutelyassesssymptoms.
        2. Assesssym ptom s                                                .                                       DateofOnset:
         (7Yes r
               .
               7
               1No         Feverfrevermaynotbepresent/  *
                                                        r)somepotients,suchase/dcr/vaimmunosuppressed,
                           ortckingcertajnmedicotions.Fcvcrmovbesubjectiveorobjective).
         U Yes Z No        Cough
         I
         -I'
           fes I
               EINo ShortnessofBreath(5OB)
        3. lmplementInfectîonPreventionControlMeasuresî
                                                      IYEStotheabouequestlonsin(22.
            5u.The Symptom aticPatient
        lfthe patienthasany symptoms,implem entstandard,Contact,and Airborne Precautionswith EyeProtedion
          Cl ReportcasepromptlytofacilityIeadership,infection preventionandcontrol(IPC),publichealthand qegionalandCentral
              OfficeQIIPC Consultants.
              Place a surgica mask on the patCentand minim ize proximity to staffand Enmates
              At1staffescorting,evaluating,orinclosecontact(6ft.)wi
                                                                  ththe patientshouldperfnrm hand bygienez
              putongloves,gownzfit-tasted respirator(N-95)zgoggresorfaceshieldandgfovesbeforeroom entrycrinmatecontact.
              lnm atew illweara surgicalm ask. Doffing:gloves,gown,exitroom , ioffface shield then N-95 and wash hands.
         L1EscortpatienttoacenfiedAirborneInfectfonlsclation (AI1)room.
         L1lfnoAIIroom 55avallable.isolatein room withdoorclosedandpreferablya5risexhaustedoutside.
         t-lPreparefortranspcrttoadesignated rnferralhealthcarefacilityincocrdinationwithth:localpublichealth authority(do
             notcallfortransportservicewlthoutpriornotificatfonand escortinplacato move inmâte).
         (
         l.j Minimizeand keepalogofalIiersonsinteractingwfth (6f1.)orcaringfof,the inmate.
         E1 Onco theAl1room isempty fortw o hours, itcan be cleaned and disinfected with an fPA registered disinfectant
            lEmergingviralpathogensclaim),byaperson inproperPPE.                                                          '
         L2W aste disposal! Dcuble bag trash ashazardouswaste. Linens; Double bag in linen hazard bagforwashingin centralIaundry
             3b.TheAsymptom ntk pctient
        Ifthe patienthasno symptomshouse în asingle cerl?and im plementStandard,Contactand DropletPrecautions
        w ith Eye Protectien
           L-l Flepor'
                     tcasetc facildtyleadership,QIICP,publichealth and RegionalantCentralOfficeQIIPC Consultants.
               Rouîepatlentinasinglecell   .Thepreferred lccatienîswithinHeal thServices.lfunakleto housepatlentinasinglecell
               contactRegionaland centralOffice Infection Prevention and ControlConsultants.
               Limlt#ofpersonsinteracti
                                      ngwithinmate,Utilizesocialdîstancing(6ft.).
               Documentadailysymptom assessmentandtemperature (lnmatecansel     f-moni
                                                                                     torwi
                                                                                         thdisposablethermometeroruse
               rlon-cortacttherm ometer.Utilize disposable fooi trays. Haveinmate clean and disinfectroom dailywith disposable
               towels,ifpcssible.Trash witlbe duubre bagged outofroom .
               Staffenterîng room willperform hand hvgiene, wearagown,surgiczlrnask,gogglesorface shield and gloves.Inmate will
               w earasurgicalm ask.Remove PPE,exceptfaceshieldand mask atexit. Outside room , rem ovemaskandwash hands.1
               Coniinuemodi
                          fîedhousingandobsewationproceduresuntil14daysaftertheI
                                                                               astpossibl
                                                                                        eexposuredate.
          Ll Ifatanytime thc patïentbecom esSymptomatic, implem entthestepsin 3a - TheSymptomaticPatient.

    '
    nm ate Name(kast,First):pinilinne,Guv                        Registration # 09783-104
    Institutcon: M cRae correctionalFacilpt - M cA
providerName/si
              gnaturer                                    R                    l
                                                                                               Date:      E -ïks-2 c
FebraoryJ620:Version 2.O                                 sandra W est, :2
                                                        McRaeCorrectgonal
                                                                Facility
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    qo           CORONAVIRUSDISEASE2019 (COViD-l9)INMATESCREENINGTOOL
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       1. ..As
      -.    -
              sessthe Risk OfExposure                                                                            ,
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       EDYes n Nbz' ' Travelmdfrom,orthrough.anyofthe Iocationsidenti
                                                                    fied bytheCDCasincreasing epidem iologicrisk i
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                     within the last14 davs? Link to CDC Crtterja
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        1Yes   -JNcl> Fladclosecontactw itb anvone diagnosedwith tbeCOVIO-19 illnesswithinthe last14 days? '
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      IftheunnwertoALLtheaboveriskofexposurequestîonsisN% thenSTOPhere(Jzltïproceed withnormulîntuke.                       '
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      1 he unswertoANY oltheuboverlsk o.
                                       /exposurequestlonsisYE% thenfmm eïste/yussesssymptoms.                             i
      2. Asscss Sym ptom s                                                 .                                Date ofOnset:
       F1Yes (7No       Fever(Fevermaynotbepresentknsom eprt/ents,suchJselderlh imm unosuppressed,
                      $()cIokingccrlo/nm edicatio
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                                                  ns. Feverrrlsybesubjectiveorobjective).
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       (
       JJYes C No , Cough
       L#Yes L:)No      ShortnessofBreath(SOB)
      3- lmplementInfectionPrevention ControlMeasures(fFE.
                                                         Gto the abovequestionsfzl(22.
          5a.The Sym ptom aticPntient
      lfthe patienthasanysymptom s,im plementStandard,Contact,and Airborne Precautionsw ith 6ye Protedion
        (El Repor'
                 tcaseprcmptlytofacilltyleadersbip,înfectionprevênttonand contros(lPC),publïcheasthandRegionalantCentral
           office QIIPC Consultants.
           place a surgicarm askon the patlentand m inim ile prcximity to staffand i
                                                                                   nmates
           AIlstaffescorting,evaluating,(;rinclcsecontact(6ft.)withtheiatlentshould perform hand hygjene,
           putonglcves,gown,fit-tested respirator(N-95),gogglesorfaceshicl d andglovesbeforeroo'm entryorinmatecontact.
           Inm atewillwearasurgicalmask.Doffing:glokes,gown,exitroom,dofffaceshield then:-95 andw ashhands.
       1
       E)Fscof'tpatienttnacertl
                              jiedAirbornelnfectfonIsoiation(All)room,
       t.
        -llfnoA1'room isavailable,isolatein room withdoorclosedardpreferablyairisexhaustedoutside.
       ClPreparefortransporttoadesignated referralheal  thcarefacilityincoôrdinationwiththeIocalpublichealth authority4do
           notcal!fnrtranspnr
                            'tservicewithoutpriornotfficatTonandescortinplacptomoveinmate).
       C1 Minimi ze andkeepa1cgofal(personsinteractingwith(6f1.)orcarîngfor,theinmate.
       (3 Oncethe Allroom isempty fortwo hours. itcan be cleaned and disicfected with an EPA registered disinfectant
          (Emergingvfralpathogensclaim),bvaperson inproperPPE.                                                       '
       L!W astedisposal:Doublebagtrashashazardouswaste.Li    nens:Doublebagin Ifnenhazardbagforwashlngincentralraundry
          3b.TheAsym ptom utic Pltient
      lfthe pationtbasno sym ptomshouse in asinglecell,and im plementStandard,Contactand DropletPrecautions
      w ith Eye Protecticn
        L-l Repor'tcase to faciri
                                tyIeadership,QIICP,publiuhealth and Regionaland CantralOffice QIIPC Consul
                                                                                                         tants.
        (T Housapatientinasinglecell.The preferredlocationiswîthinHealthSew ices. lfucabreto house patientIn asîngle cell
             contuctRegicnaland Centraloffice Infection Preventien and controlConsultants.
            Limit#ofpersonsinteracting withinmate.Utilizesocialdistancing(6f1.).
            Doctlrrlentadeîlysymptom assossmcntandtemperatzre(1nmatecanself-monitorwithdîsposablethermometercruse
          non-çontactthermometer.Utirize disposable faod tcays.Have inmate clean and disinfectroom dailywïth disposabre
          towe?s,?ifpossible.Trash wislbe doubte bagged outofroom .
          Staffantering room willperform hand hygiene,wearagown, surgîcalmask,gogglesorfaceshield nndgloves.lnmateWill
          wear'
                a surgîcalm ask.Aem ove PPC.exceptfaceshiepd and m askatexit.Outsida room,rem ovem askand wash hands.!
       ;
       -7 contintlem odified housingandcbservationproceduresuntil14daysafterthe Iastposstbleexposuredate.               i
       1
       7 lfatan' gtimethe patientbecom essym ptomatic, irnplementthe stepsin 3a - The Symptom aticPatient.


    nm atexame(Last,First): philinpe,Guv                      Registration11 0:783-104
    lnstitutîon: v caae correctiona?F:a ili
                                          t - M cA
    provîderName/sïgnature;                            q.
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                                                                                   -    -   Date:   E -ïu --
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                Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 46 of 104


                j7$ conoNAvlausDlsEAsE2019(COVID 19)INMATESCREENING TOOL
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                1. Assessthe Risk OfExposure                                                                                    '
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                                   dwithin the(ast14 days?jzinkto(.
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                C.
                 JYes .uNo lhadclosecontactwithanyonediagnosedwiththeCOVID-19iIlness-withintheIast14days?
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                IftheunswertclAlltheobouer/
                                          kkolexposurequestîonsf.
                                                                $NO,thenjTOPherczndproceedw/t:normalintake.
                IftheunswertoANYoftheuboveriskolexposurequestionsisYES,thenîmmediatelyassesssymptoms.
                2. AssessSym ptom s                                                                                         Date ofOnset:
                7)Yes (
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                      1No jFever(fcvccrvayrlötbepresentfnsomepatients,suchasetdeçly,immunosuppressed,
                          lortakinc
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                rfYes L1Nc $Cough
                E.éYes (JNo 'ShortnessofBreath(SOB)
                3. ImplementInfecticnPreventionControlMeasuresi
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                                                                 Ctotheabovequestionsin(22.
                    3u.The &pm ptornaffcPutient
                Ifthe patienthasanvsymptom s,im plem entStandari,Contact,andAirborne Precautîonsw lth Eye Protettion
                  rn Repnr'
                          tcasi
                              ?prnm ptl
                                      ytofacilltyleadership,infection preventionand control(IPC),publlcheal
                                                                                                          thand RegionalandCentral
                    OfflceQIIPC Ccnsultants.
                 7i Place asurgicalm askcn the patientand m inimize proxi
                                                                        m ity to staffand inm ates
                 '
                 J AdIstaffescorting,evaluating,orinclosecontact(6ft.)withthepatientshould perform handhygiene,
                 .

                   putcngloves,gown,fi   t-testat
                                                irespirator(N-95),gogglesorfaceshieldandglovesbcfore rcom entryorinmatecontact,
                     lnmatewùpikvcarasurgicalm ask. Doffing:gIcves,gcwrl,exitruarn,dofffaceshield then N-95and wash hands.
                 L-)Escorlpatientto acertl
                                         fied Airbr
                                                  arrle lnfectfon l5o!
                                                                     ation'
                                                                          :Al!)room .
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                 7 jfnoA.1room ï5available,isolaleilRroom withdoorclosed andpreferablyairisexhausteéuutside.
                 2 Praparefortransporttcadesignatedreferralhealthcarefacilityincoordlnationwiththelocalpublzchealth authority(dt
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                    notcallfortransportservicew7
                                               thoutpriornotificatlon andescortinplacetomoveinmatc).
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                 k Minlmizearld keep a1ogofa1lpersonsinteracti
                                                             ngwith t6ft.)orcaringfcr,theinmate.
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                 L Once theAIlroom isempty fortwo hours. itcan be cleaned and disinfected with an EPA registered disinfed ant
                     (Emergfngviralpathogensclaim),byaperson inproperPPF.
                Z W astedîsposaf:Doubl
                                     ebagtrash ashazardou;swaste. uinens:Doubiebagin ignenhazardbagforwashingincentralIaundry
                  3b.The Asynw tom atic Patient
            lfthe patienthasno symptom sbause în a singleceI1,and im ilcmcntStandard,Contactand DropletPrecautions
            w ith Eye Protecti()n
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               J Rep0rtcase to faci2i
                                    t?Ieaderst)ip,Q llCP,gubIjc health and flegionaIand Cen(raIOffice QIlPC Consuitants.
              t.
               T House patientin a singl
                                       e cell. Thc preferred location Iswithli
                                                                             n Health Services. Ifunatle to house patientin asingle cell
                         cufltactqpgiullaIi
                                          and Cerntr:)Office Infection Prevention and ControlConsgltants.
                         Limit#ofpersonsfntpracti
                                                ngwith inmate.Uti
                                                                lizcsocialdistancing (6ft.).
                         Documentadail ysymptom assessmentandtemperature(Inmatecanselfmonitorwilh disposable thermometerorus
                                                                                                 -                         ie
                    non-contacttherm orrleter.Utili    ze disposabfefood trays. Have inm ate clean and disinfectroam daily with disposable
                    towels,ifpossible. Trash willi)o doubIp bagged outofroom .
                    Staffentering room wkllperform hand hygiena,wearagownz iurgi          calmask,gogglesorfaceshieldandgloves.Inmatelwill
                    wearask  ;rgicpIrnask. Retnove RPF,exccptfi    ace shic!c antimask atexit.Outside room,remove m askand wash hands'     .
                 L: ('-ontinue rtn()difhetjhousing antiobservation procedtlres unti?1.4 daysafterthe lastpossible exposure tate.           l
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                 FJ1 pfatanytimethopatientbecomessymptomati
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                                                               ementthestepsin3a- ThcSymptomaticPatient.

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    ProviderName/signature:- -...                                 ...                                         a      j
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           ? CORONAVIRUSDISEASE2019(COVID-19)INMATESCREENINGTOOL
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 1. Assessthe Risk OfExposure                                                                                                      ;
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  -JYcî           t$o     TraveIed frclm ,orthrough,any ofth(2Iocationsidentifi
                                                                              ed by the CDC asincreasing epid?m iologic risk
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                           thinthelast14 davs? l
                                               rinkto C0C Criteri
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  F!Ye5 '.No              liad rlosc contactw ith anyone diagnoseà w ith the COV1D-19 illnessw ithtn the last14 days?
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 fftheanxwertoA%Yoftheaboveriskolexposurequesti
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 2. Asscsssymjtom s       -
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                                                                            ect/vcorobjective).
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  LlYes ëJ$o jCough
  (1Yes 71No 1ShortnessofBreath(SOB)
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 3. ImplementlnfectionPreventionControlMeasures/
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                                               /Y'
                                                 ES totheubovequestionsf?l/2J.
     3a.The Jyrpptom atfc Putient
 Ifthe patienthasany symptom s,im plem entstandard,Contact,and Airborne Precautionswith Eye Protection
           Rcportcase promptlytofacilityleadership,infection preventionand contro!(1PC),publichealth and RegîonalandCentral
           OfficnQIIPC Ccnstlltants.
           Hlace asurgicalmask on the patientârld minim .
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                                                                  ty to staffandinm ates
           AIlstaffescccing,evaluaticg,orinclosecontact(6 f1.)withthepatientShouldperform handhygiene,
           pultcngloves,gtgwrl,fit-testedrospiratar(N-95),gogglesorQceshieldandglovesbeforeroornentryorinmatecantact,
           Inm ate w illwearast
                              lrgicaIm ask. Dofficg:gloves,gown,axi
                                                                  troom ,doffface shield then N-95 and wash I
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   g)l LfnoA,1roorn fsavailable,isolate;nroon'lwithùoorclosedandpreferablyairisexhaustedoutside.
   rl Preparefortransporttoadesi
       .                            gnatedreferralhealthcarefacilityincoordination wi
                                                                                    ththelocalpublichealth authority(do
        notca/lfortransportservicewi  thoutpriornotificationandescortin placeto moveinmate).
   !Z: Vinirrizeand keepa(ogofaIIpersonsinteracticgwith 468.)orcaring for,theinmate.
   C Once the AI!rcom isem pty fortw o hours, itcan be cleaned and disinfected w i
                                                                                 th an EPA registered disinfectant
           (Emergrrlgviralpathogensclaim),byapersoninproperF'PI
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   L W astedisposal: Doulblebagtrash ashazardoulswaste.tinens:Doublebagin Iinenhazardbagfcrwashing incentraIIaundry
    3b.The Asymptom utic Jk t/cnt
 lfthe patienthasno sym ptom shouse ina sing
                                           .1e cel1,and im plernentStandard,Contacland DropletPrecautions
 w ith Eye Protection
        qeportcase to facility laaders:ip,QPkCP,public health and Regiona1and CenlraiOifice QIEPC Consultants.
        House patientin asingle ceil.The preferred Iocation isw ithin HeaIth Services. l
                                                                                       funable to bouse patientin a single cell
        contactRogionaland CentralOffîce lnfectlon Prevention ant  i ControlConsuLtarlts.
             timittcfnerscnsinteractingwith inmate.Utilizesocialdistancing(6ft.).
             DocurTlentadaitysvmptom a6sessmantandtamperature(Inmatecarlself-rnonitorwithdisposablathermometeroruse
             noo-contacttherm omêter.Utilize di     sposable food traks. Have iom ate clean and disinfectroom dail:with di  sposable
             towels,ifpossible.Trash willbe dcuble bagged outofroom.
             staffentering rotlrn willperform harhd hygiene,wepra gcwn,5urgi       caIrnask,gogglesorface shield and gloves. lnmate will
             wea-a surgicaIm ask,Rem ove ?PE.exceptface ShIeltiand nlaskatexit.Oulside roorn,rem ove m ask and wash handsr           1
             Craptinue nncciifietihotlsing and ()ilservation procedure6antzl-'4 clah/sirfter(he IastpossibIe exposure date.          '
             1#atanytîrlle the patientbecorlaessyr'   nptcm atic,ir
                                                                  )lplem entthe stepsrrk32 -rhe Symptomatic Patient.


nmate Name (Last,First): Phllippe,Guv                                    Registration# 09.7
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lnstitution: M- - çRae Correctiona1Facilitv - M CA
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       1. Assessthe Risk OfExposure
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            Yeg ,No '>adcloseccntactwitharlycrletliagrloscdwiththeCOV1D-19illnesswithintheIâst14dâys?                                    l
      lftheanswertoA!!theaboverlskofexposureqt
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      lftheunswertoANFoftbeaboverfskolexposurequestionsisFfs'
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                                                                      'atelycssesssymptoms.
      2. AssessSym ptom s                                                                                                    Date ofOnset;
       2-
       .1Yes L-INo lFeverLrevermoynotbepresentinsomepatients,suchaselderly,immunosuppressed,
                      ortclkjr?gcertainm ctsc-ar/
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                                                   s.Feverlncybesubjectiveorobjective).
       -   jYes rlNo jCough
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       .   éYes 71No 1ShortnessofBreath(SOB)
      3. Im plem entlnfection PreventionControlM easuresç
                                                        1 ?F.
                                                            çtothèabove questionsin (22.
             M .The Sim ptom aticPatient
      Ifthe patienthasany sym ptom s,im plem entStandard,Contact,and Airborne Precautîonsw ith Eye Protecticn
             Rf
              aportcasepromptlytofacill
                                      tyleadership,infeclion preventionand control(1PC),publi
                                                                                            chaal
                                                                                                thand RegionalandCentral
             Office QIIPC Ccnsultuflts.
             Place a surgicalm askcn the patlentand m inimize proximity to staffand inm ates
             AJlstaffescorting,evaluating,orinclosecontatt(6ft.)withthepatientshould perform hand hygiene,
             putongloves,gown,fit-testedrespirator(N-95),goggtesorfaceshieldandglovesbeforeroom antw orEnmatecortact.
             Inmate wilrweara surglcalmask. Doffing:gloves,gcwc,exitroom ,dcffface shield then N-95 and wash hands.
       r-1 Escortpatientto acerthedAlrborneInfection lsoLatior(AII)rcom,
       L-2tfnoA)1room 15availoble,isolatein room withdoorclosed andpreferablyairisexhaustedoutsfde.
       L',zreparefortransporttoadesignatedrcfcrralhear    thcarefaci l/tyincccrdinationwfththeI
                                                                                              ocalpublicheal
                                                                                                           th authority(do
            notcallfortransportservicewithoutpriornotification and escortin place to moveinmate).
           M inimfzeand keep aIcgt)falIpersonsinteractingwith1  '
                                                                6ft.)orcarfngfcr,the inmate.
             Once thc A1lroom isempty fcrtwo hours, itcan be cleaned and disinfected withan E'PA reglstered disinfec ant
            (Emergingviralpathogensclalm),byaperson inproperPPE.
       L-.- W astedi
                   sposal: Doublebag trash as hazardouswaste. Linens:Double bag in zinen hazard bag forwashing in centralIaurdw
          Jb.The Asymptom utic Jk t/ent
      pfthe patienthasno symptomshouse in a sfngle cell,and im plementStandard,Contactand DropletPrecautions
      with Eve Protection
                  Fleportcase to faciû
                                     ityIeadershipzQItCPZpubli   c health and Regfonaiand Centra!OfficeQIIPC Consultants.
                  Ilouse patientin a single cell,Tble preferred Iocation iswithin Health Servlces.Ifunable to house patientin a single ceil
                 contactFlegi
                            oflalnndCentralOfficelnfectfonPreventi
                                                                 onandControlConsultants.                                              !
                  Limit# ofpersonsirteractingwith inmate.Utilizesociatdi
                                                                       stancing (6 %.).
                  Documentadail ysymptorrlassessnlentandtemperature(lnmatecansûlf-monitorwithdisposablethermometerorase
                 oon-coctacttberm orryeter.Otilize clisposabpo rotld trays. Have inm ate clean and disinfectroom dailpwith disposable
                 tcwels,ifpcssible,Trash wislbe doublo bagged outofroom ,
       Z         Staffentering rcom willperform lnand hygiene,wearagown, surgica!m ask.gogglesorface shield andgloves. Jnmate wrll
                 weara surgicalm ask.Remove PPE.excoptface shield and maskatexît. Outside room,remove m ask and wash band<l.
                 Cortinuemgdifiedhousïngandobservationproceduresuntil1t1daysaf-
                                                                              tertheIastpossibleexposuredate                           2
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       )1 lfatany time the gatientbecom essym ptomatic,im plementthe stepsIn 3a - rhe Symptom atic Patlent .                           j
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     rlmate Name(Last,First): Philjppe,Guy         Registration # 069783-104                                                           1
    lnstitution: M cRae CorrectionalFacilit - M CA         Clarlzs:.$tales                                          .                  l
    ProviderName/signature:               - -                                  ?
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    Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 49 of 104



     q          CORONAVIRUSDISEASE2019(COVID-19)iNMATESCREENINGTOOL                                                     )

    1 Assess the Risk OfExposure                                                                                        1
     (JYes         c    '
                        Traveledfrom ,crthroush,anyofthelocationsidentified bytheCDCaFincreasing epi
                                                                                                   tiem iolclgirrisk
                        withinthe last14days? kinkto CDC Criteria
          Yes . No      Hadclose contactw i
                                          thanyone diagnosedw iththeCOVID-I9 illnesswithinthelast14days?
    lfthennswertoAtLtheobove rfsk olexposurequestions& NO.then STOPhereandproceed wftàlnormulintake.
    lftheanswertoA%Yoftbegboe:risk ofexposure questionsisYES,then fm meëfofe/y ossesssymptoms.
    2. AssessSym ptom s                                                                                       DateofOnset;
          Yes L
              -1No      FeverLFeverrrlt7gnotbepresent?r?somepcl/crlls:suchaselderly,t'
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                        ortakingcertc/
                                     'r?medications,Fevermayàyesubjectiveorab
                                                                            py
                                                                             'ctive).
          Yes ClNo      Cough
     û-
     -'Yes hlNo         ShortnessofBreath(5OB)
    3. lmplementlnfectionPreventionControlMeasuresi
                                                  jFF.
                                                     5tctheabovequestlonsfzl(23.
        3a.The Jprnptom /tfcPct/ent
    Ifthe patienthasany symptom s,im plem entStandard,Contact,and Alrborne Precautionsw ith Eye Protection
      O Repor'tcasepromptl
                         ytofacilîtyIeadership,infectionpraventionandcontrol(1PC),publïchealthand RegionalandCentral
           t.
            )ffjceQ(lPL
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                                   lts.
           Place asurgicalmask cn the patientand minimize proxim ity to staffand irm ates
           Ar
            Istaffescorting,evaluating,crin closecontact(6 ft.)withthepatientshouId perform hand hygienea
           putonglcves,gcwn,fît-testedrespirator(N-55),gogglesorfaccshîeld and glovasbeforeroom entw orinmatecontact.
           Inm ate willweara suqicalrnask. Doffing:gloves,gow n,oxitroom,doffface shield therlN-9,
                                                                                                 5 and wash hands.
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      7 Esuortpationtto acertt
                             fiedAirborne lnfection Isolation(AlI)roorn.
        lfncAr1room i5avaiIable,isolatoin room withdoorclosejandpreferubk airisexhausted outside.
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      71Frepafefortransporttoadesignated referra!healthcarefacilityinccortlnation wi
                                                                                   ththelocalpublichealth authority(do
           notcallfortransportsel
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                                                                     n placeto mcvegnmato).
     ()
      1 Minimize ancfkeepaIogofalIpersonsinteractingwi
                                                     th (61.)orcaring for,theinmate.
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      1 OncetheAIIroom isem ptyfortwchours,i   tcanbecle:aedand tisinfected withun I    EPA registereddisinfectant
        (Emergingvira;pathogensclaim),bya personioproperPPIZ.
     FJ W astedisposal; Doubleb;gtrash ashazardousw aste. Linens: Double bag in Iinnn hazard bagforwashing in centralIaundry
          3b.The Asym ptom atic Plt/erlt
    lfthe patienthasno sym ptom shouse in asinglecell,and im plem entstandard,Contactand DropletPrecauticns
    with Eye Protectzon
      1l Hppcr'tcaseto facilitpIeadership,QIICP,publlchêalthand Regionaland CentralOfficeQ1IPC Consbltants,
      i? House paticntin asinglacell.Thepreferred Iocation iswithinMealth Services.Ifunableto house patientir asinglecell
            contactF?agîorla,and Contralû)f
                                          'fice Infection Prevention und ContrulConsultants.
            Limit#of;)e.
                       'sDnsinteractingwith irm ate.Utiii2eseciaIdistancing (6f1.).
            Documentadail ysymptom assessmentand temperature(lnmatecanself-moni     torwith disposablethermometeroruse
         non-contactthorm ometer.Utilize disposatlefor;d trays. Have inm ate clean and disinfectroom daily wi
                                                                                                            th dlsposable
         towels,ifpossible.Trash wiIlbe doubla bagged outofroom .
         Staffentering room willperform hand hygiene,wearagown,surgicalmask,gogglesorface çhield and gloveg. Inm ate wil
                                                         eld and maskatëxît. Outside room,rem ove m askand wash handst.
                    .
         wearastlrglcaIm ask.Remave P8.;E,exceptface shi
      71 Continuem cdifiad hnusingand cbservationproceduresuntil1.4 daysafterthe Iastpcssibfe exiosure tate,              I
      Z Ifatany time the patientbecom es symptomstic,implemantthe stepsin 3a- 7he Symptom aticPatient.

'
nm ateName(Last,Flrstl; Philinne,Cuv                          qegistratiorl# 09783-104
lnstitution: M cRae CorrectioralFaci'îtv - M CA                           csarle.
                                                                                sW.stale              -

ProviderName/sîgnature:-.-                           -        .--   ..-   lltazecerreronalFxj
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Februor;J52(t Verqion 2.0
           Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 50 of 104



             . ' CORONAVIRUSDISEASE2019(COVI
                                          l D-l9)INMATESCREENINGTOOL
-'- --
          1. Assessthe Risk OfExposure

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          71Yes c T
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                   a
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          E1Yes          o    Had closecontactwith anyone diagnosedwith theC()VID-IS illnesswlthin thelast14 days?
          l
          f tbeanswerto 4l!the above rlskofexposure questionsisN% thenSTOP hereandproceed with norm alintake.
          l
          ftheunswertoANYoft/leabover3/kofexposurequestionslsFf& thenimmediatelyassesssymptoms.
         2       AssessSym ptom s                                         1.                                            DateofOnset:
                                                               '
          ZYes Z Nc FeverçFeverrrlsynotbepresentlnsome#()Lienrs,such(7.
                                                                      $elderly,immunosuppressed,
                                   ' medicatl'
                    t?rtaking cerfœn         ons.Fevermaybeï
                                                           subjectivecrobjectîve).
          L1Yes Z2No          Cough                                       1
          L
          -
          .
          1Yes Z Nc ShortnessofBreath(SOB)
         3. lmplementlnfedionPrèventionControlMeasuresilFf&totheJhovequestionsJp(2).
             Ja.TheSym ptom atlcPatient
         Ifthe patienthasany symptoms,implem entStandard,Contad,and AirbornePrecautionsw ith EyeProtedion
           LJ Repnr'
                   tcasepromptlytcfacilftyIeadership,infectionpreventionandconrrol(IPC),publicheal
                                                                                                 thand RegionalandCentral
                 Odice QIIPC Consultants.
                 Piace asurgicalm askon the patientand minimize proxim ity to staf'
                                                                                  fand rnmates
                 AIIstaffescorting,evaluatqng,orTnclosecontact(6f4.)with thepatientshouldpedorm hand hygiene.
                 putongloves,gown,fit-testedrespiratcr(N-95),gogglesorfaceshieldandglnvesbeforeroom entr   '
                                                                                                           yorinmatecontact.
                 fnm atewillweara surgica)m ask. Dofring;groves,gow n,exitroom ,doffface shield then N-95 and wash hands.
           U EscortpatienttoacertljiedAirbornelnfertionlsolation (A)i)room.
           U lfnoA1Iroom ë$available,isolatein room withdoorcl osedandpreferabk airiseyhaustedoutside.
           C1Preparefortransporttoadesignatcdreferralhealthcarefacilityincoordinationwlth thelocalpsblichealtb authority(do
              notcallfortransportservlcewlthoutpriornotificationand escortlnplacetomoveinmate).
           C1 Minqmizeand kcepaIogofaIlpersonsinteractingwith (6ft.)orcaring for,theinmate.
           t
           .
           -j Once tne A1Irot
                            nm isem pty fortwo hours, itcpn be cieaned and disinfeded with an EPA registered dîsinfectant
                 (Smergingviralpathogensclaimj,byapersonin properPPE,
           t
           '
           J
           l W aste disposal: Doubie bag trash as hazardouswaste. Li
                                                                   nens: Double bagin Tinen hazard bag forwashing in cenlrallauniry
            3b.TheAsym ptom atic Putient
         Ifthe patienthasno sym ptom shouse ina single cell,and im plementstandard,Contattand DropletPrecautions
         w ith Eye Protertion
                Repor'
                     tcasetofacili t'
                                    yleadarship,QIICP,publichealthandRegi     onalaniCentralOfficeQIIPCConsultants.
                House patientin a single cell.The preferred Iccation i5within Hea1th Servicas.lfunable to house patientln a singlecell
                contactRegionaland CentralOffice Infection Prevention and ControlConsultants.
                  Limit#ofpersonsinteractingwi
                                             thInmate.UtilizeSocialdistancing(6 ft.).
                  Documentadailysymptom assessmentandtemperature(Inmatec3nself-monitorwcthdisposatlethermometeroruse
                  non-contactthermcmeter.UtFlize disposablefood trays. Have irmate clean and disinfectroom àaîlyw 1th dfsposabre
                  towels,ifpossible.Trashwirlbedoublebagged outofroorn.
                Staffentering room willperform hand hygiene,weori)gown,surgicalmask.gogglesorface shleld and gloves. lnm atew 'I
                                                                                                                               l
                weara'surgicalm ask.Rem ove PPE,ezceptfaceshield and mask atexit- Outside room ,remcve maskand wash hands.
             L1 Continuem odified housingand obsewation prodeduresunti!14daysaftertheIastposgfbleexposuredate.
             El Ifatany tim ethe patientbecom essym ptom atcc,implem entthe stepsin 3a- Thesym ptomatic Patient.

     '
         nm ate Nam e(Last,First):Philippe,Gtlv                     Reglstration# 09783-104
 -''Instituticn: M cRae CorrectionalFacilitv= M CA
     ProviderName/signature:                                TBX'IaGlasrer
                                                                        cckA
                                                                           .,                    oate: ' -JO---
     Fabruary JOJO,version J.s                                           i
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  fa
Aû          CORONAVIRUSDISEASE2019(COVID>19)INMATESCREENINGTOOL
  1. Assesst       Risk Of Exposure
  71Yes 7 o         raveledfromzorthrobgh'anyofthc Iccationsidentified bytheCDC asincreasi
                                                                                         ng epidemiologicrî
                                                                                                          sk
                   within thi
                            a tastqa days? Linkto CDC criteria
  L1Yes L1 o llad close contactwith anyone diagnosedwith the COV1D-19 illnesswithin thelast14 days? '
 11the onswertoAàltheaboverisko!exposurequestlonsisNO.thenSTOP hereandproceed with norrnl/intake.
 1 the unswertoA&Foltheaboverlsko/exposurequestionsisFfS,thenimm ediatelyassessspmptoms.
 2. Assesss#m ptom s                                              ,                                           DateofOnset:
  EiYes ZJNo       FeverfFeverm oynotbepresentin som epatients,suchJselderk,imm unosuppresses
                   ortakingcertainmedicotions.Fevermcpbesublèctiveorobjective).
  U Yes U No       Cough
  L Yes ElNo shortnessofBreath(SOB)                                                                                      '
 3. lmplementInfectionPreventionControlMeasuresi
                                               lFf<totheDbsvequestionsin(22.
     3u.TheSym ptom atic Putient
 Ifthe patienthasany symptomszlm plem entS'andard,Contact,and Airborne Precautionswith Eye Protedion
   E-1 Repor'tcasepromptlyto faci
                                litvleadership,infectionpreventionand contro!(1pC),publ
                                                                                      ichealth and RegicnalandCentral
       OfficeQSSPCCohsultants.
     Place asurgicalm ask on the patientand minim ize proximityto staffand inmates
     AlIstaffescortlng,evaluating, orînclosecontact(6f' t.)wi
                                                            ththepatientshould perform hand hygi
                                                                                               ene,
       putongloves,gowo:fit-tostedrespirator(N-95),gogglesorfaceshleld andglcvesbeforeroom entw orinmate contact.
       Snmatewisswearasurgicalmask.Doffing:gloves,gown,exitroom,dofffaceshleldthen N-95andwashbands.
  (7 FscortpatianttcacerttfiedAirborneInfection I
                                                solation(A11)room.
  C lfncAlrroom isavaîiable,isolatein room withdoorclosedandpreferablyairisexhaustetoutslde.
  LjPreparefortransporttoa designatedreferralhealthcarefacilityincoordinationwiththeIocalpublichealth authority(do
     notcallfortransportsewicewithoutprlornotlficatlon andescortTnplacetomoveinmâta).
  E2 Mlnimize and keep aIogofalIpersonsinteractingwith(68.)orcaringfor,theinmate.
  C! Once the AIIroom is empty fortwo hours, itcan be cleaned and disinfeaed with an EPA registered disinfectant
     (Lmergingviralpathogensclaim),byapersonin proporFPE.
  L1W astedisposal:Doublebagtrashashazardouswaste.Linens:Doublebaginlinenhazardbagforwashinzln centrallaundry
    3b.TbeAsym ptom utic pct/ent
 lfthe patlenthasno symptom shouse in a single cell,and implementStandard, Contactand DropletPredautions
 w ith Eye Protection                         '
    U Reportcaseto facilityIeadershipzQIICP,publichealthandRegionalantCentralOfficeQ1IPCConsultants.
   L1 Hôuse patientin a single celr.Thepreferred zocation iswT
                                                             thin hlealth Services. Ifunable to house patientin asfngle cell
      contactReglonaland CentralOfflce Infection Preventlon and ControlConsultants.
   (-1 Limit#ofpersonsinteractingwith inmate.Utillzesocialdi
                                                           stancing(6ft.),
   7 Doctlmentadailysvmptom assessmentandtemperature(lnmate canself-moni
                                                                       torwithdisposablethermometeroruse
     non-contacttherm om eter.Utilize disposable food trays.Haveinm ate clean and disinfectroom daily with disposable
     towels,ifpossible.Trash willbe double bagged outofroom .
     Staffentering room wlllperform han: hygiene,weara gown, surgîcalmask,gogglesorface ghlêld andgloves. Inm âte wTll
     wearasurgicarmask. Remove PPE,exceptface shieldand maskatexi      t- Outside room,rem ove m askand wash hands'
     Continue modi fied housing and obsexation procedurpsuntil14 daysaftertbe I astpossible exposure date.
   t
   7 Ifatany tim ethe patientbecom essymptomatic, im piementthestepsin 3a- The SvmptomaticPatlent.


lnm ateName(Last,First): Philip-peaGuv                   Registration# 09783-104
Instilution: M cRae CorrectionalFac t - M A
ProvlderName/slgnature:                                cx                                ate:          *     A
February2626)VersionJ:   .                             Sandra W ost, K
                                                      M cRae correctional
                                                            Facllity
             Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 52 of 104



   Q'$'lcoRoxavl
               Rusol
                   sEasszozg(covlo-zs)INMATESCREENINGTOOL
'-.---'w
            1. Assessthe RlskOfExposuie                                                                      '
   '   '
             (
             JYes       No      aveledfrom,orthrough,any ofthe Iocationsidentised bytheCDC asincreasingepidem iologicrîsk
                              within theIast14days? Linkto CDC Criteria
             L1Yes LJNo       Hadclose contactwith anyone diagnosed withtheCOVlD-l9 illnesswi
                                                                                            thinthe last14 days?
            l
            f theonswertoALktheJâoveriskofexposureqsextfonxIsNO.then <T/.
                                                                        )#hereandproceed wlth normolintake.
            l
            ftbeunswertoANYo.ftheuboveriskofexposurequesbionsis:f'
                                                                 -% thenimmedîatelyassesssytnptoms.
            2. AssessSym ptom s                                              ,                                           DateQfOnset:
             EJYes C)No FeverfFevermoynotbepresentinsomepott'
                                                            ents,s&chcselderk,çmmunosuppressed,                                       '
                        ortakingcertainmedications.Hvermaybesubjectiveorobjw
                                                                           ective).
             EJYes L'
                    jNo       Cough
             Z Yes (E1No ShortnessofBreath(SOB)
            3. lm plèmentlnfectipn Prevention ContrqlM easuresîIFH tn theJhovequestîonsfp6fk).
                                       .       .


                3u.The Sym ptom atic Patçe:t
            lfthe patlenthasanysymptoms,Im plem entStandard?Contad,and AirbornePrecautionswith Eye Protedion
              0 Repor'tcasepromptlvtofacîlityleadership,infectionpreventionandcontro)(IPC),publichealthandRegionalandCentral
                 OfficeQl1PC Consul
                                  tants,
                 Place asurgicalmaskoa the patientand m inimize proximityto staffand inmates
                AlIs'taffescorting'evaluatingaorin closecontact(6ft.)withthepatzentshouldpedorm hand hygi
                                                                                                        ene,
                putongloves,gown,fit-tested respirator(N-95),gogglesorfacesbieldandglovesbeforeroom entryorinmatecontact.
                 lnm ate willw eara surgfcalm ask.Doffing:gl
                                                           oves,gown,ezitroom,doffface shield then N-95 and wash hands.
             f
             7JEscortpatientto acertliedAirbornelnfedion lsolation(A1I)room.
             C IfnoAI1room isavailable.isolateinroom wi
                                                      thdoorclosed andpreferablyairTsexhaustedoutslde.
             C1Preparefortransporttcadeslgnated referralhealthcarefacilîtyincaordinationwith thelocalpublichealtb authority(do
                notcaIfortransportservicewithoutpriornotifi
                                                          cationand escortinplaceto move lnmate).
             L1 M inimi
                      zeandkeepalogofalIpersonslnteractingwith (6ft.)orcarîngfor,theinmate.
             C1 OncetheA1Iroom isem ptyfortwo hours.Itcanbecleanedand disinfectedw i
                                                                                   thanEPA registereddisinfedant
                (Emergingviralpathogensclaiml:byapersoninproperFPE.
             L1W astedisposal:Doubl
                                  ebagtrashashazardouswaste.Linens;Doublebagin Iinen hazari bagforwashingincentralraundry
                3b..TheAsvm ptolnoticPct/ellt           '      ' ,            .             .                  !
            Ifthe patienthasno sym ptoms house in asinglecell,and impl
                                                                     em entStandard,Contaetand DropletPrecautions
            w ith Eye Protection                             '
                   Repcr'
                        tcasetofacilityleadershlp,QIICP,publichealthand RegionalandCentralOfficeQIIPC Consultants,
                   House patientin a single cell.The preferred locatlon îswl
                                                                           thln HeaIth Services, lfunableto house patientina singlecell
                   contactRegionaland CentralOffîce lnfecti on Prevention and ControlConsul  tarts-
                  Llmit# ofpersonsinteractingwith inmate.Utilizesocialdistancing(6ft').
                  Documentadailysymptom assessmentBndtemperature(Inmatecanself-moni     torwithdi
                                                                                                sposablethermometeroruse
                 non-contactthermcm eter,Utllize di
                                                  sposable foôd trays.Have inm ate clean and disicfectroom dail
                                                                                                              yw î
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                 towelsaifpossible.Trash wilbe double bagged outofroom .
                 Staffentering room willperform hand hTygfene,wearagown,surgicalmask,gogglesorface shield and gloves. lnmate wifl
                 wearasurgicalmask, Remove P?E:exceptface shield and m askatexit.Outside room,remove maskand wash hands.
                 Contintlem odifiedhoosingand obsewation proceduresuntil14davsaftertheI3stpôsslbleexposuredate.
              L1 lfatany time the patientbecomessym ptomatic,implem entthe stepsin 3a- The sym ptom atpcPatlent.


 ''-
           'nmateName (Last,First):Phijippe,Guv                      Registratlon # 09783-164
       -lnstîtution: M cRae CorrectionalFacilit - M CA
        ProviderName/signature:                           nnte'aG'
                                                                 aep.r.cm                         Date:       <     .,
                                                                 :    v. ao j
        Februory 2620,Verséon 2.0
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Jti,L CORONAVIRUSDISEASE2019(COVID-l9)INMATESCREENINGTOOL
'-.
    -.--
           1. Asses:the Risk Oflxposure
     '-
            F1Yes -. o Traveledfrom,orthrough,any oftheIocaticnsidentified bytheCDC asincreaslngepi
                                                                                                  demiologicrisk
                        wlthintheIast14days? tinkto CDCCritell'a        -


            C)Yes ' o Had close contactwith anyonedàagnosedwiththeCDVID-I9 illnesswithin theIast14 days?
           4/'thearuwertoALttheaboverisko/exposurequestîonsisN% then STOP hereandproceed'
                                                                                        wlth normulintnke.
           tftheunswertoANYo/theuboveriskofexposurequestlonsfsFf& thenimmediutelyussesssymptoms.
           2. AssessSym ptoms                                                    .                                    DateofOnset:
                                                                                                                                  '
                                                                            o.
            (
            :1Yes (E2No     FeverfFevermaynotbepresentinsomepct/ents,suchJSelderly,immunosuppresses
                            ortakingcertoinmedicotions. Feverrnlybesubjective orobjectfve).
            F1Yes (E)No     Cough
            E
            2IYes E)No      ShortnessofBreath(SOB)
           3. ImplementlnfedionPreven&ionControlMea#uresITFFStotheJbovequestionsin (k).
               3a.The sym ptom aticPatient
           lfthe palienthasany symptoms,implementstandard,Contad,and AirbornePrecautionswith EyeProtedion
             E) Repor'
                     tcasepromptlyto facilz
                                          tyleadership,infectlonpreventionand control(1PC),publichealthand RegionalandCentral
               OfficeQIIPCConjultants.
            E:
             l Placeasurgicalm askonthepatientani minimizeproxim i
                                                                 tytostaffandinmates
            0 Allstaffescorting.evaluating,orinclosecontact(6ft.)withthepatientshould perform hand hygiene,
              putongloves'gown,fit-testedrespiratcr(N-95),gogglesorfaceshieldandglovesbeforeroom entryorinmatecontact.
                Inm atew illw eara surglcalm ask. Doffing:gloves,gown.exi
                                                                        trocm'dof'
                                                                                 ffaceshield then N-95 and wash hands.
      .
            E3 EscortpatienttoacertsjledA'rbornelnfectionlsolation (AII)room.
            0 lfno A11room isavailable,isol
                                          ateinroom withdoorclosedandpreferablyaIrI      sexhausteioutsi
                                                                                                       de.
            L1Preparefortranspor'ttoadesignated referralhealthcarefacil  ityincoordinationwiththeIocalpublichealth authori
                                                                                                                         ty(do
                notcallfortransportservicewithoutpriornotgflcatlon andescortinpl acatomokeinmate).
            (E) M inimi
                      zeand keepalogofallpersonsinteractîngwith (51.)orc-aringfcr,theînrnate,
            EEI Oncethe AIIrcom is em pty fortwo hours: i
                                                        tcan be cleaned and dislnfected with an EPA registered disinfectant
               (Emergingviralpathogensclaim),bya person lnproperPPE.
             (
             E)W astedisposal:Doubl  ebagtrash ashazardouswaste.Linens: Double bagTnIlnenhazaribagforwashingincentralIauniry
               3b.TheAsym ptom nticPatlent                                                        .
           lfthe patienthasno symptom shouse inasingle cell,and sm pl         em entStandard,Contactand DropletPreeautions
           w lth Eye Protection                            '
              E) Repcrtcasetofacilit?Ieadership,QIICP,publichealthand RegionalandCentralOffice QIIPCConsultants.
                  House patientin asicgle ccll.The preferred k
                                                             ocation lswithin Health Services.Ifunable to house patlentin asingle cell
                  contactRegîonaland CentralOfflce Infection Prevention and ControfConsultants.
                 Limit#ofpersonsinteractingwith inmate.Utllizesocialdistancing(6h.).
                 Documentadailvsymptom assessmentandtemperatnre(Inmatecanself-monitorw1thdlsposablethermometeroruse
                non-contactthermometer.Utilizedisposable food trays.Have inm ate clean and dlslnfect room dailyw i
                                                                                                                 th disposabre
                towels,ifpossible.Trash wfllbe double bagged outofroom ,
                staffenteringroom willperform hand hygiene,weara gown,surgicalmask,gogglesorfacz sbield and gloves. lnmatê will
                weara surgicafmask.nem ove PPE,exceptface shield and m askatexi t.Outside room,remcve mask and wash hands.
             Z Ccntinuem odifiedhousingnndobservationproceduresuntil14daysaftertheI      astpcsslble exposuredate.
             Fl lfatanytsm ethepatientbecom essymptom atic,lmplem entthestepsin3a-7heSym ptomaticPatgent.


   -- -
          'nm ate Name (Last,Fîrst): Ph-illppe,Guv                  Registratlon # 09783-104
          lnstitution: M cRae CorrectionalFacilit - M CA
          ----,d----.-,-.---,---,                    -- ,..                                     --,-- g-//-s ,
                                                     C ae prredioaalFacltrty
          February2020,Venion 2.t)
            Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 54 of 104



 qQ,9 coRoxAvlRusnlssAsu2o1s(covlo-lg)IxvvEscaEExlxoyoo.
--
     - -
           1. Assessthe Risk OfExposure
      '
            (()Yes . No      Traveledfrom,orthrough.anycfthelocationsJdentifi
                                                                            ed bytheCDC asincreasingepidem iologic risk
                               ithin the last 14 days? tink to CDC Crlteria
            LJYes 7 o        Had clcscccntactwithanyonediagnosed withtheCOVlD-19iirnesswithinthe I
                                                                                                 ast14 days?
           t/'theanxwez'toALLtheubover/skofexposurequestionsisNO,thenSTOPhere/n8proceedwithnorva/intuke.
           (/theunswertoA&FoftheJboverîskofexposutequestions/sO.   % therA êpe//atelyassesssymptoms.   '
           2. AssessSym ptom s                                                                                           Date ofOnset:
            EElYes L1No      F'
                              everfFevermoynotbepresentfrlsomepstFentsgsuchzserder/y,immunosuppressed,
                             crrgkFr?gcertuinm edîcations.Feverrritzgbesubjectiveorobjective).
            D Yes (
                  5 No       Cough
            r.
             1Yes ClNo ShortnessofBreath(SOB)
           3. lmplementInfedionPreventionControlMeasuresifYES totheabovequestlohsin(22.
               3a.The Sym ptom atic Pntient
           lfthe patienthasanysymptom s,im plem entStandard,Contad , and Airborne Precautionswith Eye Protedion
             U Repof'tcaseprcmgtlytofacility(eadershipzinfectionprevention andcontrol(lPC),publichealth and RegîonalandCentral
               Office QIIPC Ccnsultants.
            Ll Placeasurgicalmaskonthepatientaniminim izeproximitytostaffandinm ates
            F1 AIlstaffescorting,evaluating,orinclosecontact(6t1.)withthe patientshouldperform hand hvglenee
               putongroves,gown,fit-tastedraspirator(N-95),gogglesorfaceshfetdandglovesbeforeroom entryorinmatecontact.
                Inmatewsllweara surgicalmask. Doffing:gloves, gown,eyitrocm,doffface shield then N-95 and wash hands.
            U.
             lEscortpatienttoaceni liedAirborne1nfpctionlsolation(qI1)roorn.
            :2lfnoAIIroom isavailablezisolatein room withdoorclosed andpreferablyaîrisexhaustadoutslde.
            (
            Z1Preparefortransporttoadesignatedreferralbealthcarefacilîtyi n coordinationwêththelocalpublichealth autbcrity(do
               nctcallfortransportservicewithoutprlornotificatlonandescortInpr aceto moveInmate).
            i
            .J MinimizeandkaepaIogofaIIpersonsinteractingwith(6f1.)orcaringfor,thelnmate.
            '
            E5 Once the AIIrcom i
                                s empty fortwc hoursz itcan be cleaned and disinfected with an EPA registered disinfed ant
               (Emergingviralpathogensclaim),byapersoninprcperPPE.
            Q W aste dlsposalzDoublebag trash as hazardouswaste. Llnens: Double bag In linen bazard bagforwashing in centrallaundry
               3b.TheAsym ptom aticPatient
           Ifthepatienthasno symptomshouse in a slnglecell,and lmplem entStandard, Contactand DropletPrecautîons
           w ith Eye Protection
                  Reportcasetofacilityleadershlp,QIICP,publichealth3rd RegionalandCentralOfffceQIIPC Consultants.
                  Flnuse patier!tin a singte celt.The preferred Iccatior iswithin Flealth Services. lfunabtetohousepatientinasinglecell
                  contactRegionaland CentralOffice lnfection Prevention ant ControlConsultarts.
                  Lim ft# ofpersonsintaractingwith fnmate. Utilizesocialdlstarcing(6f1.).
                 Dccumentaiallysymptom assessmentandtemperature(Inmatecan Self-moni    torwithdîsposablethermometeroruse
                 non-contactthermom eter.Utilizedisposablefoodtrays.Haveinm ateclean anddislnfectroom dailywîth disposable
               towels,ifpossfblo.Trashw illbe double bagged otltofroom ,
               staffentering room willperform band hygiene,wearagown,surgicalmask,goggles orface shield and gluves. lnm ate will
               weara surgicalmask, Remova PPE,exceptface shlald and maskat axit. Outside room,remove m askand w ash hands.
             Z Ccntinue modrfiedhousingandobservationproceduresuntil14daysaftertheIastpossibleexpasuredate.
             Z lfatany time the patientbecom essymptom atic, implementthestepsin 3a - The Sym ptom atlcPatient.

       '

 -
          nmate Name (Last,First): Philinpe,Guv                     Registration# 09783-104
     'Institution: M cRae CorrectionalFacilit - M CA
       ProviderName/signature:                        Mcnaecorxotiona'
                                                                     lFaali                       Date:       R' e.-
      February 2020,Versîon 2.O
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      C/iM coRoxAvlRusDIsEAsE2ol9(covID-19)IXMA'
                                               ,EscaEExlxsroo.
-'- .-.
          1. Assess.the Rlsk OfExposu/e                                                                    .
 ''
          E)1Yes      o    Traveledfrom ,orthroughzanyofthe locationsidentifiedbytheCDC asïncreasing epidam iologicrisk
                           w lthln the Iast14 days? Llnkto CDC Criteria
                                                            -   -


          (ElYes     No    Hadclose contactwith anyonediagnosedwith the COVlD-19 Illnesswithinthe bst14 days?
          l
          ftheunswert'
                     oALLtheuboverisko.
                                      fexposureqlzestior?sIsNO,then .
                                                                    5FJP hereundproceed wkh normalîntuke.
          1 tàeanswqrtoANFoftheaboveriskofexposurequestîonsisFfsetheh'
                                                                     iminedîutqlyJ.
                                                                                  ue.
                                                                                    u,x
                                                                                      l/àb/pfoej. .                         .'
                                                                                     :                         '   '
          2, AsscssSymptom s                                             .                                             Dateo?Onset:
          :E
           2Yes E1No       Fever(Fevermaynotbepresentp    '
                                                          r)someplt/cntl,such aselderk,imm unosuppressedp
                           ortuking certain medicatlons.Feverrncpbesubjectiveorobjective).
          C)Yes Z No       Cough
          1
          '
          .
          è1Yes Z No ShortnessofBreath(SOB)
          3. lmplementlnfectionPréventionControl.MeasuresIf.Ff-
                                                              çt:theJbovéquestlohs.th(22.'.     .
            'aai-Thè'
                    psyn
                       ;t-
                         tètoinàticpdtkent.'' ' ' ' '- ' . ''''     -. - . . '. .2'.'
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                                                                                            ' -7 .' ''
          lfthe patienthasany symptomsiim plementStandard,Contact,and Airborne Precautionsw ith EyeProtedlon
            Z ReportcasepromptlytofacilityIeadership,infection preventicnandcontrol(IpC),publ
                                                                                            ichealthandReglonalandCentral
              OfsiceQIIFCCpnsultants.
           Q Place a surgicalm askon the patientand m inimize proximityto staffand inmates
           (E1 AIIstaffescorting,evaluating,crlnclosecontact(6ft.)withthepatientshould perform handhyglene,
               putongloves,gown,fi   t-tested respirator(N-95),gogglesorfaceshzeld andglovesbeforeroom entryorinmatecontacy.          ,
              lnm atewlllwearasurglcalmask.Doffing:gioves,gown,exitroom,dofffaceshieldthenN-95 andwash hands.                         '
           d'.
             IE'
               seortpatienttoacertliedAlrborneInfeclonIsolatlon (AII)rcom.
           tLlIfnoA11room isavailablepîsglpteîn room with doorclosedandpreferablqaIrisexhaustedoutside.
                                             '          '
           U Preparefortranspcrttoadeslgnatedreferralhealtilcarefacilityinccordi
                                                                               nationwi
                                                                                      'ihthelocai'
                                                                                                 publichealth authority(do
               notcallfortranspon servicewithoutprlornotlficationandescortinplacato movelnmate).
           (E) Minimizeand keepalogofaIlpersonsinteractîngwith (61.)orcaringfoqthe inmate.
           (J OncetheAl,room isem ptyfortwohours,itcanbecleanedanddislnfeetedwithan EPA registerad disbnfectant
              (Emergingviralpathogensclalm),bya personinproperPPE.
           (ElW astedisposal:Doublebagtrashashazardouswasto.Lfnens:Doublebag inIinen hazard bagforw ashingin centrallaundry
             Jb.Thèh.
                    ipmptôànctz Pct/irii .       .
                                                                    '
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                                                                                                      '
                                                                                                           .                  .



          lfthe patienthasno sym ptomshouse in asingle cell,and implem entStandard,Contactand DropletPrecautions
          w ith Eye Protectlon
            Cl ReportcasetofacîlityIeadership,QIICP,publichealth and RegionalandCentralOfficeQIIPCConsultants.
            Z House patlentIn a single cell.The preferred location iswithin Health sewlces. lfUnableto house pati
                                                                                                                entin a slngle cell
                 contactRegionaland CentralOffice Infectïon Prevention and ControlConsultants.
            R Limi
                 t#ofpersonsIntercctlngwithinmate.Utilizesocialdistancing(6ft.).
            U Docunlentadailysymptom assessmentandtemperature(Inmatecan self-monitorwithdisposeblethermometeroruse
               non-contacttherm ometer.Utlllzedisposablefoodtrays.Haveinmaleclean anddisinfectroom dailywi
                                                                                                         thdlsposable
               towels,bfpossible.Trash willbe double bagged outofroom.
            Z Staffenteringroom wislperform handhygiene,wearagow n,surgicatmask,gogglesorfaceshield and gloves.Inm atewïll
               wearasurgicalmask.RemovePPE,exceptfaceshieldanim askatexk,otltsideroom ,removem askandwashhands.
            L1 Contlnuem odifiedhousingandobsewationprocedurasuntil14 daysafterthelastpossibleexposuredate.
            O lfatanytim ethepatlentbecomessymptomatic,implam entthestepsin3a-7'heSym ptcmaticPatient.

      lnmate Name (Last,First):PhilioDe,Guv
 'u . ?
                                                                    Registration# 09783-104
      lnstitution: M cRae CorrectionalFacilit - M CA
      ProviderName/slgnature:                          Me%ece
                                                            axdak
                                                              a> rlFuow                        Date:       y)o
      Februory2020,iqc-
                      ç/gn J.0
                   Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 56 of 104




fl1-)-t CORONAVIRUSDISEASE2019(COVlD-19)INMATESCREENINGTOOL
'-
      -'--
                  1. Assessthe Risk OfExposure
                   LJYes r         Travefedfrom,orthrough,anyofthe lo:ationsf   dentifiedbytheCDC asincreasipg epi
                                                                                                                 demiolosicrisk
                                    7ithin the last14 days? tînkto cDc criter7a
                   t
                   .
                   '
                   qYes - o
                   .                Had closecontactwith anyone diagnosed withthe COVlD-19illnesswithinthe Iast14 days?
                  1
                  /theonswertoAtlthecboue risko#expolurequestlonsisNG thenSTOP hereondproceed withnorm ulInkuke.
                  Iftheunswerto4&Foftheuboveriskofexposurequestionsf.
                                                                    çYES tbenfmmctzitzte/yassesssymptoms.
                  2. AssessSym ptom s                                             .      '                                   DateofOnset:
                   rlYes (
                         E)No Fever(Fevermaynotbepresent?      'nsomepatients,suchaselderly,immunosuppressed,
                              orttzk/rlgcertainm edications. Feverrrlclybesubjectiveorobjective).
                   E)Yes LlNo      Cough
                   (
                   7Yes f
                        .
                        7No tShortnessofBreath(S0B)
                  3. lmplementInfectionPreventionControlMeasures11Ff5totheabovequestionsCn (23.
                      9J.The Sym ptom atlc Putlent
                      .

                  lftinepatienthasany symptom s,im plem entStandard, Contact,and Airborne Precautîonsw ith Eye Protection
                   O Reportcase prcmptlytofacilstyleadership,infectionpreventàonand control(IPC),pubrîchealthandRegionalandCentra:
                       Office QIIPC Consultants.
                   EE2 Place asurgicalmask on the patientand mlnim i
                                                                   ze proximity to staf'
                                                                                       fand inm ates
                      AIistaffescorting,evaluatingzcrin closecontad (5f1.)wi
                                                                           ththepatientshouldperform handhygiene,
                      putongloves,gown,fit-testedrespirator(N-95),goggl% orfaceshieldardglcvesbeforeroom entryorinmatecontact.
                      lnmate willwearasurgicalmask. Dofing:gloves, gown,exitroom ,doffface shield then N-95 and wash hands.
                   I
                   EJEscor'
                          tpatientto acertl
                                          fiedAirborneInfectionlsolation (AI1)room.
                   i
                   7 lfnoA11room isavailable,isolatein room withdoorclosed andpreferoblyairisexhaustedoutside.
                   O Preparefcrtranspo;'ttoadesignated referra!healthcarefacilityincoordinâtîôn withtheIocalpublichealth authority(do
                      notcallfortranspcrtservicewithoutprjornotlficatlon andescortInplaceto move Inmate).
                   O Minîmi ze Bnd keepa6ogofa15personsinteractingwith(6ft.)orcaringfor:theinmate.
                   Z OncetheA1lroom isemptyfortw ohours,itcanbecleanedanddi
                                                                          sinfectedwithanEPA registarad disinfectant
                      (Emergingviralpathogensclaim),byapersoninprcperFPE-
                   FJ W aste disposal: Doublebag trash as halardouswaste. Linens: Double bagin Iinen hazard bag forwashing in central(aundry
                      3b.The Asym ptom utlc Pctfepe
                  lfthe patlenthasno symptom shouse îna single cell, and implementstandard,Contactand DropletPrecautions
                  w itb Fye protection                             '
                         RepcrtcasetofacilityIeadership,QIICP,publichealthand RegionalandCentralOfficeQIIPC Consultants.
                         HousepatientInasinglecell.Thepreferred IccationiswithinHeaIthServ?ces. Ifunabletohouse patientinasinglecell
                         contactRegionaland CentralOffice lnfection prevention and ControlConsultants.
                         Lim it# ofpefsonsinteractingw ith inmâte. Util
                                                                      izesocialdistancing(6ft.).
                          Docbmentadaifvsymptom assessmentandtemperature(lnmatecanSpl
                                                                                    f-monitorwithdisposablethermometerortlse
                       non-zontuctthtrm om eter,tltillze disposable food travs. Haveinmate clean and dïsinfect room daiiy wjth disposable
                       towels,lfpossible.Trashwillbedoublebagged outofroom .
                       Staffentering rcom willperform hand hygiene,weara gown,surgicalmask, goggles orface shleld and gloves, Inm ate wi  ll
                       weara surgïcalmask. Remove PPE:exceptface shield and mask atexi    t. outsiie room ,rem ove rnask and wash hands.
                    Ll Continuemodi   fiedhousingand observatîonproceduresuntil14daysaftertheIastposslbleexposuredate.
                    Z lfatanytim ethepatientbeccm essymptom atic, im plem entthe stepsin 3a- The Sym ptom atic Patient.

              '

     '- ' '
              nm ate Nam eftast,Flrst):Phslipne,Guv                      Registration # 09783-104
          lnstitution: M cRae CorrectionalFacilit - M CA
          ProvidcrNamo/slgnalurc:                          3YN7e*ol
                                                                  acper                                Date:      .-1'-
          Febrtlclry2020.Version 2.O                             .    ;;ajjocj
                                                                             yv
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   j/-1,2 CORONAVIRUSDISEASE2019 (COVID-19)INMATESCREENING TOOL
-' .-- --
             1. Assessthe Risk OfExpôsure
      '
      -'
             L1Yes      No    Traveledfrom,orthrough,anyofthe Iocztionsidertified bytheCDC asincreasingepidemiologicrisk
                              wîthin the Iast14 dzys? L.inkto CDC Criteria
             F.
              1Yes - No        Had clcsecontactwith anyonediagnosedwith the COVlD-l9 illnesswithinthe last14 days?
            lftbe unswertoALLthe uboverlskofexposure questionsisNO,thenSTOPherenndproceedwith norm ulintake.
            IfthecnxœertoANFo!tbeubover/lkofexposurequestionsisYES,thenimmedlotelyJMe-
                                                                                     u symptoms.
            2.. AssessSym gtem s                                              .                                            Dateof'onset:
             LJYes L-)Nc      reverqFevermaynotbepresentJ
                                                        '
                                                        J1som epotients,such cselderly,imm unosuppressedj
                              ortakingcerttsrlmedications.Fevermaybesubjectiveorobjective).
             (EJYes Z No      Cough
             C)Yes (DNc ShortnessofBreath(50B)
            3. lmplementlnfedlonPreventionControlMeasuresifFf-
                                                             çtotheJbovequestionsip(2).
                9J.TheSpm ptom af'
                .                    z Putient
            Ifthe patienthasany symptoms,im plementStandard,Contad,and AirbornePrecautlonswith Eye Protedion
              C1 ReportcasepromptlytofacîlityIeadershipzfnfection preventionandcontrol(lPC),publichealthandqegîona)andCentral
                 OfficeQIIPCConsultanl.
              EJ Place aSurgicalm askon thc patientand minim ize proximit'
                                                                         y to staffand inmates
              E2lAllstaffescortiag,eval
                                      uatlng,orinclosecontact(6f1.)withthepatientshouldperform handhygiene,
                 putongl  oves,gown,fit-tostcd respîratcr(N-95),gogglesorfaceshieldantgrovesteforeroom ertryorinmatecontact.
                 Inm atew illweara surgicalm ask. Dol ng:gloves,gow naexftroom,dofffaceshi
                                                                                         eld then N-95 and wash hands.
              E2Escortpatienttoac/rr/cdAirbcrnelnfectionlsolation(AlI)room.
             IèlIfnoAllroom isavailableaisodatein room with doordosed andprefercb/yairisexhaustedoutside.
              EElPreparefortransporttoadesignatedreferralheal thcarefadilityincoordlnatlcnwjththeIocalpubl
                                                                                                         3cheal
                                                                                                              th authori
                                                                                                                       ty (do
                  notcallfortransporlservicewithoutpriornotiGcationand escortinplacetomoveInmate).
             Z) Minimi  zeand keep alogofa1Ipersonsinteractingwith(6h.)orcaringfor,theinmate.
             L1 OncetheAllroom isemptyfortwoI
                                            nours,ftcanbecleanedanddisinfected wi
                                                                                thanEPA registereddl
                                                                                                   linfectant
                (Emergingviralpathogensclaim),byapersoninproperPPS.
             F.
              '1W astedisposal;Doublebagtrashashazârdouswaste.Linens:Doubl
                                                                         ebaginiinenhazartbagforwashingin centrallaundry
                3b.T/leAsymptom atlcPatient                                                                     '
            Ifthe patienthas nosymptomshouse ina single cell,and im plem entStandard,Contactand DropletPrecaetions
            w ith Eve Protection
               Z Repor'tcasetofacill  tyleadershi p,QIICP,publichealth and RegianalandCentralOfficeQIIPC Consultants.
                   House patientîn a single cell.'
                                                 The preferred lccaticn iswithin Health services. lfunableto house patîentîn asingle cell
                   contactRegianaland CentralOffice lnfection Prevention and ControlConsul    tants.
                    Limit#ofpersonsinteractingwithinmate.UtilizeSccialdistancing(6 f
                                                                                   1.).
                    Documentadailysymptom assessmentandtempprature(lnmatpcansel       f-monitorwithdisposablpthermometeroruse
                 non-contaqttherm ometer.Utllizedisposable food trays. Have inm ate clean and disinfectrocm jaily wi
                                                                                                                   th disposabl
                                                                                                                              e
                 towels,ifpossible.Trash willbe double bagged outofroom .
                 staffenteringroom willperform handhygiene,wearagown,surgicalmask,gogglesorface shleld and gl       oves, Inmatew ill
                 waara surgicalmask. nemovePPS,eyceptfaceshleld and mask atexit. Outside room,rem ove m ask andwash hands.
              Z Contlnuem odified hcuslngandobservati   onproceduresuctil14daysaftarthelastpossibleexposuredate.
              L1 lfatanytim ethe patientbecomessym ptomatic,implem entthe stepsin 3a- The Sym ptomat?cPatient.

       '
           nm ate Nam e(Last,First): Philippe,Guv                       Registratlon# 09783-104
  '-'Institutlon: M cRae CorrectionalFacilit - M CA
       ProviderName/signature;                      Tao
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                                                            -jrr
                                                               gpqMj,,
                                                                    ,                              oate:       H'I r
       Februory2020,Version 2,:
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                 j
               CORONAVI
                l     RUSDISEASE2019(COVID-19)INMATESCREENINGTOOL
                 1                                                                                    '
     1. AssessjtheRiskOfExposure
     C)Yes
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                   th
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     glYes     'o        Had closecontactwithanyone diagnosed wi'
                                                                ththcCOVID-19 illnesswithinthe Iast14 days?
     I
     ftheonswertoAtLtheabover/<#cfexposurequestionsf.
                                                    ç9O
                                                      l
                                                        ,thenSTOPhereandproceedwithnorml/intake.
    IftheunswertoANYoftheuboveriskolexposurequestionsiisFF& thenimmediut
                                                                      . elg
                                                                          'c
                                                                         '' -
                                                                            ue.
                                                                              u symptoms.       .
                                                                   I
    2. AssessSym ptom s                                                .                                        ôateofOnset:
     (5Yes C)No FeverLFeverm ay notbepresentl'
                                             nsomepotients,suchJselderly,î m munosuppressed,
                ortlk/ngcertoinmedicctions,Fevermuybesubjectiveorobjectt've),
     G)Ycs IZNo          Cough
     EE
      )Yes ClNo          Shortnessofareath (5Oa)
    3. lm plementlnfectien Preventl
                                  on ControlM easdrejji.  5 tothe a'b'
                                                       fYâ'          ove questions3n f2J,
        3a. The .sym ptom uticPutient                    j
                                                         i                                                                       '
    Ifthe patienthasany sym ptoms.im plem entStandard,Coqtact,and Airborne Precautionswith Eye ProtectCon
      F1 Reportcasepromptlytofacilityleadership,infection preventionand control(lPC),publichealthandRegicnalandCentral
        OfficeQIIPCConsul
                        tants.                                     i
     I
     i Place a surgicalm asken the patientand minimize praximityto Staf'
                                                                       fand inm ates
     C AlIstaffescortng:evalualing,orinclosccontact(6f1.)withthe
                                                              1
                                                                patientGhourdpedorm handhygiene,
       pu'tongroves,gown,fit-testedrespirator(N-95).gogglesorfaceshieldandglovesbeforeroom entryorinma'e contact,
1u.u
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    or
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                                                    .,dofffaceshi
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                                                                 dthenN-95andwashhands.
     L1I
       fnoA11room isavailable,isolateinroom withdoorclosedanjprefercbk airiseyhaustedoutside-
     (E1Preparefortransporttoadesignated referralhealthcarefaciliEyincoordinationwiththeIocalpublîchealth authorfty(dc
         notcallfortranspor:servlcewithoutprlornotl
                                                  ffcati
                                                       onandescortinpl  aceto moveinmate).
     t.
      a Minimizeand keepa1ogofalIpersonsinteractingwith(Gf1.)orcaringfor.theinmate,
     L1 Oncetha AI(roam isampty fortwo hours, itcan be cleaned and di
                                                                    slnfected with an EPA regîstered disînfectant
        (Emergingviralpathogenscl
                                aim),byapersoninproperPFE.
     (E)W astedisposal;Doublebagtrashashazardouswaste.Linens:DoublebaginIinenhazard bagforwasbingincentrallaundry
        3b.T'he Asymptom atlcPatlent
    lfthe patîenthasno symptomshouse inasinglecell,and imisementStandard,Contactand DropletPrecautlons
    w ith Eyo Protection
      E1 ReportcasetofacilityIeadership,QIICP,publlchealthand qegionalandCentralOfffceQIIPC Consultants.
      U House patientinasinglecell. The preferred lacation iswithl
                                                                 !n Healt: services. Iftlnabta to.house patientin asingle :eI:
          contactRegîonaland CentralOffice InfectionPrevention and ControlConsultants.
          Limi
             t#of
                ipersonsinteractingwith znmate- Utilizesocialdistancing (6%.).
          DocLjmortar
                    lailyçymptom assessmentandtemperature(lnrnate canself-monitorwithdisposablethermcmeterortlse
          non-contactthcrm om eter.Utilize disposablefooj trays, Hayeinmate clean and disinfactroom dall
                                                                                                       y with disposabre
          towels,if
                  1
                    pos
                      s i
                        ble.Trash wi
                                   llbe  toubl e bagged out ofroom !
          Staf
             'fentrring rcom willperform hand hygïene,wearagown,surgzcalmask,gogglosorfaceshield andgloves,Inmatewill
        wearasurgicalm ask Remove PPE:,exceptface shieldand mask atexit. Outsl  de room ,remove m askand w ash hands.
      1 Continue1m odïfied housirg aqd observation procedurcsuntil.
     L'                                                           -4 daysafterthe Iastpossîbje expasure (jate.
     Z lfatanytimethe patientbecom essym ptom atic,implem ent'   thestepsin3a- Thesym ptomatlcPatient.

.                    1
nm ate Nam e(Last,First): Philinne,Guv                      Registration# 0978:-104
lnstitution: M cRae Correctiora!Faciit - CA
ProkidcrNam q/
             l,signalure:               ,                                                Date:
Februory2020, Versicn 2.O                                    umxcpredl
                                                                     or
                                                                      ujFaa.
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      L
  ç-2 conoxAvlRusDlsEAsE2019(covID-19)INVIATESCREENINGToot
 1. Assessthe Risk OfExposure
  :1Ycs   o Traveiedfrom,orthrough,anM ofthelocationsi
                                                     dentified bytheCDC asincreasingepidemiologicrisk
                 w ithin theIast14 davs? LinktoCDC Criteria
  n Yes    No    Hadclosecontactwith anyone diagnosedwi    th the COVID-I9illnesswithinthe last14 days?
 l
 ftheanswertoAtLthe ubover/sâo.
                              fexposurequestîonsisN% thenSTOP here andproceed with normulintuke.
 # theanswettoANYo;theuboveriskolexposurequestionsisFfl,then/mmedicte/ganesssymptoms.
 2. Alsesssym ptcm s                                           ,        .                                 Dateofonset:
  r!Yes E
        JjNo     FeverfFeverm aynotbepresentin somepatients,suchJselderly,imm unosuppressed,
                 ortsk/r?gcertoinmedkations.Feverrrlsybesubjectiveorobjectiveh
  LlYes. (ElNo   Cough                                             =-                           '


  t'1Yes O No shortnessofBreath (SOB)
 3. ImplementInfedionPreventionControlMeasuresi
                                              lFfStotheJbovequestionsfn(22.
    3c.TheA mpêov ct/cPatient
 Ifthe patienthasany symptoms,im plem entStandard,Contact,and Airborne Precautionswith Eye Protedion
  CI ReportcasepromptlytofacilityIeadershlp,Infectionpreventionândcontrol(IPC),publichealthandRegicnaland Central
     OtticeQIIPC Consultants.
  Ll Place a surgicalm askonthe patientand minim ize proxim i
                                                            tyto staffand inmates
  C1 AIIsta# escortlng,evaluating,orinclosecontact(6%.)withthepatientshould perform handhygi
                                                                                           ene,
     putongloves,gown,fit-tested respirator(N-95),gogglesorfaceshieldandglovesbeforeroom entryorinmatecontact.
     lnm atew illweara surgicalm ask. ooffing:gloves,gow n,exitroom,dofffaceshfer
                                                                                d then N-95 and wash hands.
  (IEscor'
         tpaîienttoacenl pedAirborne Infectl
                                           onIsolation (A11)room,
  r.
   lIfnoAIIroom isavailable,isolateInroom with iaorctosedandpre/erab/yairisexhaustedoutslde.
  C)Preparefortransporttoadesignated referralhealthcarefacilit'
                                                              yin coordinationw1ththelocalptlblicheal
                                                                                                    th authori
                                                                                                             t'
                                                                                                              y tdo
     notcallfortranspor'tservicewi
                                 thoutpriornotificationand escortinplacetomoveinmate).
  r.
   1 M inimlzeand keep alogofallpersonsinteractingwith (6ft.)orcaringfor,theinmate.
  g1 Once the AIIroom isemptyfortwo hours, itcan be cleaned and disinfected with an EPA registered dlslnfectant
     (Emergingviralpathogensclaim),byapersoninproperPPE.
  EE)W astedisposaj:Doublebagtrashashazardouswaste,Unens: Dotlble bag inIinen hazardbagforwashingi
                                                                                                 n centralJaundry
     Jb.The Asymptom ctk Putient
 lfthe patienthasno symptom shouse in a singlecell,and implementStandafd,Contactand DropietPrecautions
 w ith Eye Protection                            '
   Z Reportcasetofacilityleadership,QIICP,publichealthand RegionalaniCentralOffîceC/IPC Consultants.
   C! House patientinasinglecell.Thepreferred l   ocatior iswithin HeaIthServices.lfunableto housepatiant2casinglecell
        contactqeglonaland CentralOffice Infection Preventlon and ControlConsultants.
       Limlt#ofiersonsinteractingwithinmate.Utilizesocîaldistancing(6ft.).
       Documentadail?symptom assessmentandtemperature(Inmatecanself-monitorwith disposablethermometeroruse
      non-contacttherm cmetêr.Utilize disposablefood trays. Have inm ate clear and disinfectroom dail
                                                                                                    y with disposable
      towels,ifpossible.Trashw illbedoublebagged outofroom .
      Staffentering room willperform hand hyglene,w earagown,surgicalmask,goggles orface shield and gloves. lnm ate will
      w eara surgicalm ask. Remove PPE,exceptfaceshîeld and m askatexi  t. Outside room,rem ove maskand wash hands.
   Fl Contînuemodi   fiedhousingandobservationproceduresunt'l:4 daysafterthelastpossibleexposuredate.
   I
   TI lfatanytim ethe patientbecom es symptomatic,im plem entthe stepsin 3a - TheSymplomatic Patient.


'nm ate Nam e(Last,Flrst): Philippe,Guv                 Registration# 09783-104
lnstitution: M cRae CorrectionalFacilit - M CA                  tk      W,!t2
ProviderName/signature:                                         vtpzac- zkwrljl
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                    oRoxAvlRusoIsEAsE2o19(covID-,9)IxMv EscnEExlxsyoou
- '.
        1. Assessthe Risk OfExposure
        (j'
          /es      No   Traveledfrom ,orthrough,anyoftheIocationsidentifiodbytheCDC asincreasingepidem iologicrisk
                        withinthelast14 days? Linkto CDC Criteria
        Z Yes       o   Had closecontactwith anyone iiagnosedwiththeCOVID-IS illnesswïthinthe last14 days?
       1theonswertoAtàthee overlskolexposurequestionsisNO'thenSTOPhereandprozeed wîthnormulintuke.
       1theonswertoANYoftheaboveriskojexposurequestionsisYM,thenimmediutelyassen symptoms.
       2. AssessSym ptom s                                              .                                        Date ofOnset:
        rlYes C1Na I)FeverLFevermlynotbepresentinsomepatients,suchgselderly,immunosuppressed,
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                        ortoking certain medicutions. Feverrnspbesublectiveorobjective).
        L1Yes (7No      Cough
        Z1Yes E1No ShortnessofBreath(SOB)
       3. lm plementlnfection Prevention ControlMeasuresifFfS to theabovequestîonsin (23.
           7c,TheSym ptom ct/cPntlent
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       lfthe patienthasany symptom s,im plementStandard,Contact,andAbrborne Precautionswlth Eye Protedion
         Z Repor
               'tcase promptlytufacilityIeadership,infectionpreventionandcontrol(IPC)
                                                                                    ,publichealthand RegionalandCentral
            OsiceQIIPCConsultants.
            Place asurgicalmask on the patiêntant mfnim i
                                                        za proyimlty to s:affand inm ates
           A(Istaffescorting,avaluating,crinclosecontact(6 ft.)withthe patientshould perform handhygiene,
           putongloves,gownefit-testedrespirator(N-95),gogglesorfaceshield andglovesbeforeroom entryorinmateccntact.
            Inmatewillwearasurgicalm ask. Doffing:gloves,gown,eyitroom,dofffaceshieldthen N-95andwashhands.
         D Cscortpatienttoacert@edAlrborneInfectlonlsolaticn(AIl)room.
         (
         71l
           fnoAIIroom isavailable,isolatein room with doorclosedandpreferabk airiseyhaustedoutside.
         C)Preparefortransporttoadesi gnated referralhealthcarefacili
                                                                    tyin coordinationwiththeIocalpublichealth authority(do
            notcal!fortransportservicewithoutpriornotîfication andescortinplacatomoveënmate).
            MinimizeandkeepnIogofal1personsinteractingwlth(6f1.)çrcaringfor,theinmate.
         E
         5 Once the AIlroom is em ptyfortwo hours,îtcan be cleaned and disinfeded with an EPA registered dlsinfactant
           (Emergfngviralpathogensclaim),byapersoninpropcrPPE.
         E)W aste disposal:Doublebag trashashazardouswaste.Linens:Double baginlinenhazardbagforwashingincentralIaundry
           3b.The Asym ptom aticPutient
       lfthe patlenthasno symptoms houseina single cell,andim plem entRandard,Contactand DropletPrecautions
       w îth Eye Protectîon                             '
          Z ReportcasetofacilitvIeadership,QIICP,publichealth andRegi     onalandCentralOfficeQIIPC Consultants.
              House patiertinasirglecell.Thepreferred Iocatloniswithin HeaIthSarvices,lfunableto housepatientinasinglecell
              contact Regionaland CentralOffice lnfectîon Frevention and ControlConsuitants.
               Limit#ofpersonsinteractingwith inmate.Utillzescclaldistancing(6ft.).
               Documentadall ysymptom assessmentandtemperature(lnmatecanself-monitorwithdîsposablethermometeroruse
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            towels,ifpossible. Tfash wijlbe double bagged outofroom .                                                        '
            staffentering room willperform hand hygiene,wearagrwn,surgicalm ask,gogglesorface shield and gioves. lnm ate mill
            wearasurgicalmask,RemovePPC,exceptfasashieldardmaskatexit.Outsideroom,remove maskandwashhands.
         Z Continue modified housing and obserkratîon procedures until14 daysafterthe lastpossible exposure date,
         CI Ifatan:time the patientbecom essymptomatic,im plementthe stepsin 3a --rheSymptom atic Patient.

   '
       nmateName(Last,First): PhiIippe,Guy                     Reglstratlon # 0978-3--104
   lnstltution! M cRae CorrectionalFacilit - M CA
   ProviderNam o/signature:                           .         lr -,,ES?
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           CORONAVIRUSDISEASE2019(COVID-19)INMATESCREENINGTOOL
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 /theanswertoANYoftheaboverlsko/exposurequestionsf<YM,thenimmediatelvcxses.
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2. AssessSym ptoms                                                                                         Date ofOnset:
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                                         nsomepatients,suchaselderly,immunosuppressed,
            ortakingcccts/nmedicutions.Fevermaybesubjectiveorobjectlve).
 C Yes D No        Cough
 E)Yes (
       :lNo shortnessofBreath(5OB)
3. ImplementInfectfonPreventlonControlMeasures/yFfJtotheabovequestionsIn(22.
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Ifthe patienthasany sym ptoms,Implem entStandard,Contact,and Alrborne Precautionswlth Eye Protection
  (E) Reportcasepromptlytofacilïtyleadershsp,i
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  E) A1Istaffêscorting,evaluatbng,orincloseccntact(6f1,)withthe patlentshould perform hand hyglene,
     putangloves,gown?fit-testeiresplrator(N-95),gogglesorfaceshieldandglovesbeforeroom entrv orinmatedontact.
     lnmatewillwearasurgicalmask.Dcffing:glcves,gown,lxitrcom,dofffaceshieldthanN-95andwashhands.
  D Escortpatientto aTerr/
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  71IfnoAIIroom isavailable,isolateinrcom withdoorclosedandprefersblyairiseghausted outslde.
  Z Preparefortransporttoadesignatedreferralhealthcarefàcilityincoordinationwi
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  7 Minimi
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  EEl Once the Aiiroom isemptyfortwo hours, itcan be cleaned and disinfected with an EPA registered dpiinfectant
    (Emergingviralpathcgensclaim),byapersuninproperPPE.
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   Z Repor' tcasetofacilityIeadership,QlICp,ptlblichealthani ReglonalandCentralOffice QIIPCConsuttants.
   F.J Housepatientinasinglecelt.Thepreferredlocationiswithin HeatthServices.Ifunabletohouse patientInasinglecell
         contactRegionaland centralOfffceInfecticn Preventionand ControtConsultants,
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         Dacumentadailysymptom assessmentandtemperature(Inmatecanself-monitorwithdisposablethermometeroruse
         non-contactthermcmeter.Utilize disposable food trays. Have inmate crean and dlslnfectroom dailywitb disposable
         towels,ifpossible.Trashwillbedoublebaggedoutofrccm.
         staffenterïngroom wiliperform hani hvgiene,wearagown,surgicalmask,goggle!orfaceshleld andglôves.Inmatewill
         wearnsurgicalmask.RemovePPE,exceptfaceshielàandmaskatexit.Outsideroom,removemaskandwashhands.
   '-1 contlnue m ouified housing and observation proceiuresuntil14 daysafterthe lastpossible exposure date.
   i
   Z Ifatany time thepatientbecome;sym ptomatic,im plementthe step: in 3a- The SymptomatiePatlent.

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 FASTING:UNKNOWN
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 SARS CoV 2RNAICOVID 19),QUALITATIVE NAAT                                     nx:u                               Lab:DLO
  SARS CoV2 RNA (945:0.
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  A Not Detected (negative) Eest result for this test
  means that SARS- CQk-2 RNA was not present in Ehe spqcimen
  above the limit oe deteckion. A negative resulk does.not
  rule ouk the possibility of CDVID-I9 and should noE be
  used as the sole basis for treatmect or patient management
  decisions. zf COVID-I: is skill suspecked, based oni1
  exposure history together with other clinical findinqs,
  re-testing should bs consideced in consultation wikh
  public health authorikies. Laboratory test results should
  always be considered in Ehe context of cltnicôl
  observations and epidemiolosicol data àn making a final
  diaqnosis and patiert management decisions.
  please review tbe ''Fact Sheets'' and FDA aakhorized
  labeling avatlable fœr health cace providers and
  patienks osing khe following Websites:
  httpsk//www.questdiagnoskics.com/home/cevid-lg/Hcp/NAAT/fact-sheetz
  httpsk//- .questdiegnostics.çom/hone/covid-lR/patients/NAAT/
  fact-sheetz
  This tesk has been authorized by the FDA under an
  Emergency Use Authorization (EuA) for use by authorized
  l bo/atories.
  Due to the current public health emergency, Quest
  Diaqnostics is receiving a hiph volume of sampla: from
  @ wide variety of swabs and media fov covr5-19 tasting.
  tn order to serve petients dbring khis publio health
  crisis, samptes froa appropriate clinical sources are
  being tastod. Negative tesk resulks derived from
  specimens received in non-cormerclally manwfactucod
  viral collection and kransport Media, or in media #nd
  sample collection kits nok yet aukhorized by FDA for
  co?Io-19 testing shculd be cauliousLy evaluated and khe
  paklent yotenkially subjeeked bo extra precautions Tsucb
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  Mekbqdolosyl Nucleic Aeid Amplification Test (NAAT)
  includes PCR or TMA                                I
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  AddiEional information about CGV1D-19 can be found
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 PHIMPPE,GUY(DK3334318)                                                                                                                                8/4/20
Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 66 of 104
 (interRadiologyacom )              '
                                                                                                                    Page1ofl
                                     .  Electronically signedby:Melvin Jackson MD Aug 112020 3:441:7M EST Author8/11/2020



    RADIO LOGY REPORT
    Reportprovided below representsfindîng reviewed by a radiologistforthe purpcsesofrendering an
    impressionas to theconditlon ofthe Ii
                                        stet patientatthe tim: cfthe performed x-ray study.Active diseasewill
    thus be determined based cnthe actualtime the x-ray procedurewas performed,notthe time cfthe
    rendered interpretatan.Reportis based upon the radiographl c examination!correlationwiththe clinical
    findin s isessential.
      PatlentNam e: PhillippeGuy                                        Date ofExam : Monday,August10,2020
      MedlcalRec.#: 09783-104                                                 Facility:
            Gender: M                                                  Nurses Station: ---
             D.o.B.: Thursday,February29j1968                           Ordering M.D.: Jackson Melvin Dr.
                                                                          Procedures: 1
                                                                     ReasonforExam : No information provided
                                                                        Type ofExam : cxr-hx +ppd
                                                                      m udy Received: 8/10/2020 9:37:05AM MST
                                                                          Study Read: 8/10/2020 10:17:12 AM MST
    Procedure 1
       Flndlngs/Exam                                                  Com m ent
      Technique:Chest,2 views Comparison:None.                        6mpression:t.No radiographic evidence ofacute
      Findings:The cardiomediastinalsilhouette is                     cardiopulmnnarydisease.2.Speciscally,no
      normal.Pulmonary vascularity isunremarkable.                    radiographic evidence ofactiveTB.
      There are no focaiinfiltrates.n e costophreni
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      angkesare sham with no pleuraleffusi  on.The
      bony mineralization ispormal.


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    Radiologist

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    Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 67 of 104

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                                                                 FinalReport
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                TECHNIQUE;Frontaland Iateralviews ofthechest.
                COM PARISON!1/12/2017
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                FINDINGS:Norm allung volum os.The lungs are clear.No acute alrspace disease orpulm onal'y edam a.
                No Iungcavities,fibronodularopacîties orparcnchymalarchitecturaIdùstortion,
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                Ko plouraleffusion crpneum othorax.

                Noacuteosseousabnormalitios.                                                   j
                IMPRQSSION:Stable and norm alchestoxam ination. No radiographic evldencê
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Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 69 of 104


    BP-A0807         INFLUENZA VACCINE CONSENT - INMATES COFRM
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    U.S.DEPARTM ENT O F JUSTICE                  FEDERA L BUREAU O F PRISONS
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    Ihave been provided a copy ofthe Vaccine lnform ation Statement*forInfluenza Vaccine
    dated 8/16/2019 jhave had the opportunity to ask questions aboutthe benefits and risks of
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    U Iconsentto receive the influenza vaccine atthis tim e.
             Health Questions Priorto InfluenzaVaccination (CheckYesorNo)
                Yes No            Health Questions
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                                  Do ou have allergy to eggs?
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                                  Have8ou had Guillain-Barrés ndrome progressive paralsis

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Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 70 of 104


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      Iconsentto be vaccinated.

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Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 71 of 104



    BP-A0808               VACCINE CONSENT - INMATES   CDFRM
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    Ihave had the opportunity to ask questions aboutthe beneflts and risks ofvaccination.




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    Idecline to receiye the above vaccine atthis time.
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Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 72 of 104




     BP-A08C8               VACCINE CONSENT - INMATES   CDFRM
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     Iconsentto be vaccinated.
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     Idecline to receive the abcve vaccine atthis tim e.

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         Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 73 of 104
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        BP-A0358 MEDICAL TREATMENT REFUSAL (Rechazo de rratamiento Médico) CDFRM
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            Nnmo and R gt tration Nn-her      (Numbre y Nomero de Rogfstro)     (rechaza el tratapiento recommendado
    by the Federal Huroau of Prisons Nedic91 staff for the following condition ls):
        por e) Personal Médlco de1 Bureau Pedcral de Prisiones, por 1as sigutentes razones):

    DEECRIBE IN LAYYAN'S TERMINOLOGY:                    (DRSCRIHA EN TERMINOLCGIA COMUN Y CORRIENTE):
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        The following treatmantts) was/were recnm=ended:tEl
          Tuberculosis preventi' ve medicine
          lsoniazidu Priftin,Vitam in B6 for12 weeks orIsoniazid and Vitam in B6 for9 months



    Federal Bureau of Prisons Mcdical staff members have larefully explained to me that the following
    possible eonsequences and/or complications may result becaune of my refusal to accept treatment:
        (L=s miembros de1 personal Médico del Bureau Federal de Prisiones me ha explicado cuidadosamente 1as
    posibles consecuencias o complicaciones siguientes que pueden resultar por causa de mi rechazo a aceptar
    traLamiento):
          Developm lntofantivn ftlhmrnlllnsiR
          Becom iœ contagious                                                                                     .
          Death



    I understand the posaible consequencea and/or eomplications, listed above, and still refuse recommpnded
    treatment. I hqreby ,assume all responsibility for my physical and/or mental conditionr and .
                                                                                                release the
    Bureau of erisons and tts employees from any and aIi Iiability for respecting and followàng my
    expressed wishes and directions.
    tl
     qe doy por enterado de l@s posibles consecuenclas o complicaciones enlistadas arriba, y.aun asi me rehuso
    al tratamzento recbmendado. Por medio de la presente, asumo toda responsabilidad por mi condicidn fisica
    c mentalp v Lelevu al Bureau de Prisiones y a sus emplcados de c lquiera y tcda rasponsabilidad por cause
    de rtspectar y agguir nis expresos deseos y direccionesa

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    Sivnatur of Witness aad Date           (Firma del Teztigo y Fecba)




    Record Copy - Inmate's Medical Hecord; Copy - Hospital File; Copy - To.lnmate


    PDF                                                Presc/bed byP6031                          ReplacesBP-E355.06OcfMAY 94
  Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 74 of 104

                                                                                             Inm ate C ondensed Chart Report
        Nam e: PHILIPPE,G UY                                                         DO B:     02/29/1968
         MRN: 5755670                                                                sex:      M
      Agency#: 09783-104 -BOP

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10/10/20 11:32am
Addendum                                Owner: Branch, W alter
   Notes
   Addendum to BOP Hypertension CCC ,09/25/2020:
    l)A Spanish translatorwasused
   2) Thepatienthasnopain
   3)No UA wasavailabieto t3reviwed
   Signature
   L'lectronically signed by :W alter Branch M .D.;l0/1O 2020 12:32 PM EST;A uthor
9/30/2: 1:02 pm
Addendum                                Ow ner: Branch, W alter
   Notes
   Addendum forBOP CCC Hypertension (Initial):
   N oSpanish interpreterwasused
   2)Thepatientdeniedanypain
   3)A urinalysis wasnotavailable to be reviewed
   .

   Signature
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                           '                            '09.'.
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8/18/20 11:39 am
Lab Specim ens Obtained                 owner: W ARD , MARY
   N otes
   LabSpecimensobtained perprotocolasorderedat0fO0
   Signature
   Electronically signed by :M ARY W ARD R.N .;08/18/2020 12:39 PM EST;Author
8/14/20 11:39am
ProgressNote                            Owner: Moring. Karisia




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    11/3/202011:O0:O1AM                                                                                              Page:6
  Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 75 of 104

                                                                                   Inm ate Condensed ChartReport
         Nam e: PHILIPPE,GUY                                                  DO B:   02/29/1968
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       Agency#: 09783-104 -BO P

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    Signature
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8/6/20 1:32 pm
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    S -(subjective)'Iam okay.''
    ()-(objective)I1lllatu
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    A -(assessment)Seeintakescreening form.
   P -(plan) Inm ate received atM CA. Intakepacketcompleted and placed in health record.
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   and Hygiene,Rights/Responsibilities,M edicalServiceOptions.Pain M anagement.Accessing M edicalCare,and Advanced
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   HIV - RefusalSigned
   Signature
   Electronically signed by :LESLIE RUGGENBERG R .N .;08/06/2020 2:32 PM EST
8/6/20 1:17 pm
Clinic Note                           Owner: Staples, Katie


                                                                                                       PHILIPPE,GUY
    11/3/202011:00:01AM                                                                                     Page:7
Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 76 of 104

                                                                                 Inm ate Condensed C hartReport
     Nam e: PHILIPPE,GUY                                                    DOB:     02/29/1968
      M RN: 5755670                                                         sex:     M
   Agency#: 09783-104 -BO P

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 Signature
 F.1ectronically signeclby :K atie Staples R.N .,. 08/06 2020 2:17 PNlF-ST:A uthor




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 11/3/202011EOO:OIAM                                                                                    Page:8
                 Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 77 of 104
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          Case 1:05-cr-20874-CMA Document 78 Entered on FLSD Docket 12/10/2020 Page 78 of 104
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McRaeCorrectionalFacility
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TO :            Inm ate     ili pe,Guy Reg.No. 09783-104 (K02-118U)

FROM :          Sta         .Stone,W arden

SUBJECT: RequestforCom passionate Release-clk# 158

DATE:           N ovember 17,2020


Thismem orandum isin response to therequestthatyou receivea Compassionate Release/Reduction in Sentence.

Requestfora Com passionate Release/Reduction in Sentence isgoverned by BO P Program Statement5050.50.There are
11factors listed thatstaffare to considerwhen evaluating an inmate'seligibility forCom passionate Release/Reduction in
Sentence.The 11 factorsinclude the follow ing:unresolved detainers,supervised releaseviolations, length ofsentenceand
amount of time served (This factorhas respectto proximity to release date of ResidentialReentry CenterorHome
Confinement),inmate'sreleaseplans,inmate'scurrentageanddisciplinaryhistory.
Afterreviewing BOP Program Statement5050.50 (Compassionate Release/Reduction in Sentence)and the factorsthat
areto be considered when evaluating a request,lGnd the follow ing:
      *You are 52 yearsold.
      *YourmedicalstatusisCareLevel1-Healthy/sim ple Care.
      *You were sentenced on June2l,2017,forConspiracy to Iaundermonetary instrum ents.
      *You are serving a sentence of lo8-months.To date you have only served 42.9% ofyour fullterm or 50.3% of
            yourstatutorysentence(GCT).
       *Yourreleasedate,via GCT,is September06,2024.
       @During yourperiod ofincarcerationyou have receivedthe follow ing incidentreport:
              oluly 18,2019 -code 328-Giving/accepting m oney withoutauthorization.
       *You havenotprovided a verifiablerelease plan.

A dditionalinform ation derived from your Presentence lnvestigation revealed thatthe Drug Enforcem entAdm inistration
(DEA)has an outstanding warrantforyour arrest.Thiswarrant stemmed from the deadly attack on a Haitian police
headquarters and issued by the Haitian governm ent.Furthermore,you are notcurrently experiencing any deteriorating
m entalorphysicalhealth thatsubstantially diminishesyourability to function in a correctionalsetting.

A fter evaluating yourrecord based on the factorslisted in BOP Program Statement5050.50,lfind thatyou do notmeet
the criteria to be considered fora Com passionate Release/Reduction in Sentence.Assuch,your requestis denied.In the
eventyou wishtofurtherthe appealprocess,lam including aBP 230 (10)Administrative Remedy form and instruction
sheet.Asalways,yourUnitTeam w illassistyou ifyou require furtherproceduralguidance.

SN S/cl




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